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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


DAMIEN GUEDES,
             et al.


              Plaintiffs,
                                        Case No. 1:18-cv-02988-DLF
     v.                                 The Hon. Judge Friedrich

BUREAU OF ALCOHOL, TOBACCO
FIREARMS, AND EXPLOSIVES,
               et al.


              Defendants.




DAVID CODREA,
                et al.


              Plaintiffs,
                                        Case No. 1:18-cv-03086-DLF
     v.                                 The Hon. Judge Friedrich

BUREAU OF ALCOHOL, TOBACCO
FIREARMS, AND EXPLOSIVES,
               et al.


              Defendants.


      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
          DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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                                          INTRODUCTION

      Plaintiffs wish to continue to possess “bump stocks,” devices that transform ordinary semi-

automatic weapons into extremely dangerous machine guns, which the Bureau of Alcohol, Tobacco,

Firearms, and Explosives (“ATF”) and the Department of Justice (collectively, “the Department” or

“DOJ”) properly determined are prohibited by statute.           After a deadly massacre in Las Vegas

underscored the dangers of bump stocks, which the Department previously and erroneously classified

as unregulated firearms parts, the Department reviewed its prior determinations and engaged in

rulemaking to revise its treatment of these weapons. The resulting final rule, Bump-Stock-Type Devices, see

83 Fed. Reg. (“FR”) 66514 (Dec. 26, 2018) (“Rule”), corrected the erroneous prior classifications and

amended the Department’s regulations to clarify that a bump stock is a machine gun. See id. As this

Court and others correctly concluded in rejecting requests for preliminary relief against the Rule, the

Rule is substantively correct because, when a bump stock is installed and used as designed, a shooter

fires the weapon automatically with a single pull of the trigger, which is the hallmark of a machine gun

under federal law. See 26 U.S.C. § 5845(b). Following the denial of preliminary relief, the Rule went into

effect on March 26, 2019, and this litigation is now ripe for final disposition.

      The two pending cases set forth a variety of overlapping challenges to the Rule under the

Administrative Procedure Act (“APA”) and various constitutional provisions. See Second Amended

Complaint, Case No. 18-cv-3086, ECF No. 35 (“Codrea SAC”); Second Amended Complaint, Case No.

18-cv-2988, ECF No. 58 (“Guedes SAC”). The parties have agreed that these cases should be resolved

on the basis of applicable law and the administrative record produced for the Rule, see 5 U.S.C. § 706(2), 1

and that, although Plaintiffs’ claims are not identical, judicial economy would best be served by having

the briefing in the two cases consolidated before the Court. Plaintiffs allege that the bump stock rule is

arbitrary and capricious, not in accordance with law, and in excess of statutory authority under the APA
1
  The Administrative Record (“AR”) has been produced to Plaintiffs and an index filed on the docket
in each case. See 18-cv-3086, ECF No. 36 (Apr. 7, 2020); 18-cv-2988, ECF No. 59 (Apr. 7, 2020). In
accordance with Local Civil Rule 7(n), Defendants will consult with Plaintiffs and prepare a joint
appendix containing the material cited within 14 days following the completion of briefing on this
motion and Plaintiffs’ cross-motion. In addition, for the Court’s convenience, the rulemaking
comments cited in this brief have been reproduced in Exhibit 1, and are cited both to that Exhibit
and to the AR page on which the comment is listed.
                                                     1
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because, in their view, their bump stocks are not machine guns within the statutory definition. As to the

Constitution, Plaintiffs contend, inter alia, that, in promulgating the Rule, the Department has exercised

authority that the Constitution places in Congress and that has not properly been delegated to the

Executive Branch; that statutory law and the Due Process Clause required additional procedures; that

the Rule retroactively changes the classification of their bump stocks from lawful to unlawful in violation

of the Ex Post Facto Clause and that Defendants were therefore required to provide an “amnesty” for

existing bump stocks; or, in the alternative, that the Fifth Amendment requires compensation for the

destruction of their bump stocks. Defendants are entitled to judgment on all of these claims.

                     STATUTORY AND REGULATORY BACKGROUND

    A. Statutory Framework for Regulation of Firearms

        Machine guns are strictly regulated through an interconnected array of federal laws dating back

to the 1930s: the National Firearms Act of 1934 (“NFA”), Pub. L. 73-474, 48 Stat. 1236 (codified as

amended at 26 U.S.C. ch. 53; the Gun Control Act of 1968 (“GCA”), Pub. L. 90-351, 18 U.S.C. ch. 44;

and the Firearm Owners Protection Act of 1986, (“FOPA”), Pub. L. 99-308. Together, these statutes

generally prohibit the possession by members of the public of newly-manufactured machine guns and

closely regulate the possession of machine guns manufactured prior to the effective date of the FOPA.

See 18 U.S.C. § 922(o). These statutes share a common statutory and regulatory definition of machine

guns, and the Rule revised the regulatory definition to clarify that bump stocks are properly classified

as machine guns. 2

        The definition of machine gun used by all of these statutes is set forth in the NFA as follows:

        any weapon which shoots, is designed to shoot, or can be readily restored to shoot,
        automatically more than one shot, without manual reloading, by a single function of
        the trigger. The term shall also include the frame or receiver of any such weapon, any
        part designed and intended solely and exclusively, or combination of parts designed
2
 The Final Rule amends the regulations of ATF, which is charged with the administration and
enforcement of the GCA and the NFA. The Final Rule was promulgated by the Attorney General and
DOJ, who are responsible for overseeing ATF. See 28 C.F.R. § 0.130(a)(1). NFA provisions still refer
to the “Secretary of the Treasury.” See 26 U.S.C. Ch. 53. However, the Homeland Security Act of
2002, Pub. L. 107-296, 116 Stat. 2135 (2002), transferred the functions of ATF from the Department of
the Treasury to the Department of Justice, under the general authority of the Attorney General. 26
U.S.C. § 7801(a)(2); 28 U.S.C. § 599A(c)(1).
                                                    2
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        and intended, for use in converting a weapon into a machinegun, and any combination
        of parts from which a machinegun can be assembled if such parts are in the possession
        or under the control of a person.
26 U.S.C. § 5845(b). At the time of its enactment, the NFA was “popularly known as an ‘anti-machine

gun’ law.” Franklin Zimring, Firearms and Federal Law: The Gun Control Act of 1968, 4 J. Legal Studies

133, 138 n.29 (1975). The NFA regulated machine guns (and other “firearms”) 3 as an exercise of

Congress’s taxing authority, and the NFA continues to be codified in the Internal Revenue Code and

imposes taxes on the lawful manufacturers of firearms. See 26 U.S.C. § 5822.

        In 1968, Congress passed the GCA, intended to “regulate more effectively interstate

commerce in firearms” to reduce crime and misuse, “assist the States and their political subdivisions to

enforce their firearms control laws,” and “help combat . . . the incidence of serious crime.” See 18

U.S.C. § 921 et seq.; S. Rep. No. 89-1866, at 1 (1966). The GCA supplanted some prior firearms

regulations, but exists alongside the NFA. See Pub. L. No. 785, 52 Stat. 1250 (1938) (repealed 1968).

The GCA generally established the current framework under which gun dealers and purchases are

regulated, and limited the sale of machine guns to those who could obtain a supportive, sworn

statement from local law enforcement. See GCA, 82 Stat. 197, 230.

        In 1986, Congress again turned its attention to firearms, directly addressing the hazards of

machine guns. See H.R. Rep. No. 99-495, at 2, 7 (1986), reprinted in 1986 U.S.C.C.A.N. 1327, 1328,

1333 (describing proposed machine gun limits as “benefit[ing] law enforcement” and citing “the need

for more effective protection of law enforcement officers from the proliferation of machine guns”).

Congress therefore enacted the FOPA “to strengthen the [GCA] to enhance the ability of law

enforcement to fight violent crime.” H. R. Rep. No. 99-495, at 1, 1986 U.S.C.C.A.N. at 1327. Among

its provisions, FOPA added 18 U.S.C. § 922(o) to the GCA. Section 922(o)(1) makes it “unlawful for

any person to transfer or possess a machinegun,” subject to the following exceptions:

        (A) a transfer to or by, or possession by or under the authority of, the United States or
        any department or agency thereof or a State . . .; or


3
  The term “firearms” in 26 U.S.C. § 5845 includes machine guns, short-barreled shotguns, short-
barreled rifles, and several disparate items such as silencers, rockets, and grenades, but not standard-
length shotguns, semi-automatic rifles, or non-automatic handguns.
                                                     3
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        (B) any lawful transfer or lawful possession of a machinegun that was lawfully
        possessed before the date this subsection takes effect.
18 U.S.C. § 922(o)(2).

    B. Past Regulation of Bump Stocks

        After the FOPA barred the manufacture and sale to the public of new machine guns, the price

of machine guns lawfully possessed pursuant to subsection (B) “steadily increased over time” due to

continuing interest by firearms owners in the automatic-fire capability of such weapons and a static

supply of earlier-manufactured machine guns. 83 FR 66515-16. This rising price spurred innovation

as manufacturers sought to devise ways to simulate automatic weapons fire while remaining compliant

with 18 U.S.C. § 922(o). See, e.g., Ex. 1 at 2 (AR002664); Ex. 1 at 24 (AR00232). In 2002 and 2004,

one weapons developer asked ATF whether the Akins Accelerator, the early model of a bump stock

owned by Mr. Codrea, would be classified as a machine gun under the NFA. 4 Akins v. U.S., 312 F.
App’x 197, 198 (11th Cir. 2009) (per curiam); AR 000007-AR000021. ATF tested a prototype of the

device and, after initially concluding it did not constitute a machine gun, reversed its view and classified

the weapon as a machine gun. Id. at 198-99; see AR000075-AR000077. To implement its revised view

of the Akins Accelerator, ATF issued a policy statement explaining that the Akins device and similar

attachments that use an internal spring to harness the force of recoil so that a weapon shoots more

than one shot with a single pull of the trigger are machine guns. AR005600; see also 83 FR 66516.

ATF also determined that the phrase “single function of the trigger” should be interpreted as a “single

pull of the trigger” by the shooter, not a single trigger motion. AR005599. ATF then ordered the

manufacturer “to register the devices he possessed or to surrender them,” Akins, 312 F. App’x 199,

and instructed existing owners of bump stocks to disable their devices by removing and disposing of

the internal spring. See AR000090-AR000092. The inventor brought suit to challenge the

reclassification of the device, as well as a takings claim seeking compensation, and courts rejected both

claims. See Akins, 312 F. App’x at 198; Akins v. United States, 82 Fed. Cl. 619 (2008).

4
  ATF permits manufacturers and owners to seek ATF’s view regarding the correct classification of a
firearm, accessory, or other item, and in response, the agency may provide a classification letter
indicating its current position on a particular device. See ATF, NFA Handbook § 7.2.4 (2009),
available at: https://go.usa.gov/xpwp5; Sig Sauer, Inc. v. Brandon, 826 F.3d 598, 599 (1st Cir. 2016).
                                                     4
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        The Department soon received classification requests for other bump stocks that, unlike the

Akins Accelerator, did not include internal springs. In a series of classification decisions between 2008

and 2017, the Department concluded that some such devices were not machine guns. See AR000103-

AR000278; Codrea SAC at ¶¶ 41-42 (describing these as “written determination letter[s]”). Under the

analysis used, although the bump stocks acted with a “single pull of the trigger,” the bump stocks did

not fire “automatically” because they lacked internal springs or other mechanical parts that channeled

recoil energy. 83 FR 66517. The conclusion that some bump stocks were not machine guns placed

those devices outside the scope of federal firearms regulations altogether, see id., and these weapons

became popular for recreation among those seeking inexpensive substitutes for machine guns

grandfathered by the FOPA. See, e.g., Ex. 1 at 25 (AR001455), Ex. 1 at 27 (AR001500) Ex. 1 at 30

(AR001752).

    C. Development and Issuance of the Rule

        The Las Vegas massacre brought into sharp relief the shortcomings of the previous treatment

of bump stocks. Fifty-eight concertgoers were killed, hundreds more wounded, and when

investigators entered the shooter’s hotel room, they discovered that the majority of the shooter’s rifles

were equipped with bump stocks. AR000325-AR000328; see also AR3314. The Las Vegas attack, and

the public attention given to bump stocks in the wake of that crime, led the Department to revisit its

prior treatment of bump stocks, as well as its interpretations of the terms used to define machinegun

in 26 U.S.C. § 5845(b). See 83 FR 66516-17. As an initial step, the Department published an advance

notice of proposed rulemaking (“ANPRM”) in the Federal Register. See AR000773 (Application of the

Definition of Machinegun to “Bump Fire” Stocks and Other Similar Devices, 82 FR 60929 (Dec. 26, 2017)). The

ANPRM solicited comments concerning the market for bump stocks. See id. Specifically, the

ANPRM asked a set of questions of manufacturers, consumers, and retailers regarding the cost of

bump stocks, the number of sales, the cost of manufacturing, and input on the potential effect of a

rulemaking prohibiting bump stocks. See 83 FR 60930-31. Public comment on the ANPRM

concluded on January 25, 2018, yielding 115,916 comments. Id. at 60929; see AR00198.

        On February 20, 2018, the President issued a memorandum to the Attorney General

                                                    5
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concerning bump stocks. See AR000790 (Definition of Machinegun, 83 FR 7949). The memorandum

instructed the Department, working “within established legal protocols,” “to dedicate all available

resources to complete the review of the comments received [in response to the ANPRM], and, as

expeditiously as possible, to propose for notice and comment a rule banning all devices that turn legal

weapons into machineguns.” Id. Carrying out that directive, DOJ published a notice of proposed

rulemaking (“NPRM”), setting forth changes to the regulations in 27 C.F.R. §§ 447.11, 478.11, and

479.11 that clarify the meaning of the terms “single function of the trigger” and “automatically.” See

AR001239 (Bump-Stock-Type Devices, 83 FR 13442 (Mar. 29, 2018)). DOJ received “over 186,000

comments” on the NPRM, 83 FR 66519; see AR002121, reviewed those comments, and drafted the

Rule, addressing the comments raised. See generally 83 FR 66519-43. Plaintiffs Codrea, Monroe,

Heuman, Guedes, and Firearms Policy Foundation (“FPF”) participated in the comment process. See

Ex. 1 at 40 (AR002195); Ex. 1 at 41 (AR003054); Ex. 1 at 42 (AR002736); Ex. 1 at 221 (AR003314);

Ex. 1 at 50, 135A (AR003614).

        DOJ published the Rule in its final form in the Federal Register on December 26, 2018. See 83

FR 66514. The Rule sets forth DOJ’s interpretations of the terms “automatically” and “single

function of the trigger.” Consistent with ATF’s position since 2006, the Rule explains that the

Department is interpreting the phrase “single function of the trigger” to mean a “single pull of the

trigger” as well as “analogous motions.” Id. at 66515. As to “automatically,” the Rule states that, in

the context of the statutory definition of machine gun, the term means “as the result of a self-acting or

self-regulating mechanism that allows the firing of multiple rounds through a single pull of the trigger.”

Id. at 66554. The Rule explains that these definitions are being adopted because they “represent the

best interpretation of the statute.” Id. at 66521.

        Relying on these definitions, the Rule clarifies for members of the public that “[t]he term

‘machine gun’ includes a [bump stock].” Id. at 66554. As the Rule describes, by pulling the trigger

once, resting the trigger finger on the device’s finger ledge, and maintaining pressure on the barrel-

shroud or fore-grip of the rifle with the other hand, a shooter is able to harness the firearm’s recoil

energy in a continuous back-and-forth cycle that continues until the shooter releases his pull, the

                                                     6
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weapon malfunctions, or the ammunition is exhausted. Id. at 66532. This “self-regulating” or “self-

acting” mechanism that allows continuous firing after a single pull of the trigger thus functions

“automatically” after a “single function of the trigger.” Id. Because bump stocks convert otherwise

semiautomatic firearms into machine guns, the devices are prohibited under 18 U.S.C. § 922(o). 5 The

Department instructed “current possessors” of bump stocks “to undertake destruction of the devices”

or to “abandon [them] at the nearest ATF office.” Id. at 66549. The Rule explained that DOJ would

not take enforcement action for 90 days to give possessors of bump stocks time to destroy the devices

or to abandon them at the nearest ATF office. Id. at 66530, 66549.

    D. The Instant Actions.

        Plaintiffs in the Guedes action, No. 1:18-cv-02988-DLF, filed the first of these cases on

December 18, 2018. The Guedes plaintiffs moved for a preliminary injunction the same day, requesting

that the Court prevent the Rule from going into effect. See No. 18-2988, ECF Nos. 1, 2. Plaintiffs in

the Codrea case, No. 1:18-cv-3086, filed their action on December 27, 2018, see No. 18-3086, ECF No.

1, moving for a preliminary injunction on January 18, 2019. See No. 18-3086, ECF No. 5. After

seeking the views of the parties, the Court entered an order relating these two cases and re-assigning

them to the judge presiding over the earlier-filed case, in accordance with Local Civil Rule 40.5. See

No. 18-3086, ECF Nos. 14, 15. After full briefing and a February 19, 2019 motions hearing, see No.

18-3086, ECF No. 25, the Court denied the preliminary injunction motions, finding that Plaintiffs in

both cases lacked a reasonable likelihood of success on the subset of claims relied on in their

respective motions. See Guedes v. ATF, 356 F. Supp. 3d 109 (D.D.C. 2019) (“Guedes I”). As relevant

here, the Court determined that: (1) under the standard set forth by Chevron v. NRDC, 467 U.S. 837

(1983), Defendants “reasonably interpreted and applied” the definition of “machinegun” to conclude
5
  “The term ‘semiautomatic rifle’ means any repeating rifle which utilizes a portion of the energy of a
firing cartridge to extract the fired cartridge case and chamber the next round, and which requires a
separate pull of the trigger to fire each cartridge.” 18 U.S.C. § 921(a)(28). The term “semi-automatic
firearm” is not specifically defined in federal law, but generally refers to any weapon that after a round
of ammunition is fired, chambers the next round of ammunition and can then be fired with a separate
pull of the trigger. See, e.g., Ohio Rev. Code Ann. § 2923.11 (West 2017) (“‘Semi-automatic firearm’
means any firearm designed or specially adapted to fire a single cartridge and . . . chamber a succeeding
cartridge ready to fire, with a single function of the trigger”).
                                                     7
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that bump stocks are machine guns; (2) Defendants have the “authority to interpret and apply” the

definition of “machinegun”; and (3) preliminary relief could not be obtained for Plaintiffs’ Takings

Clause challenge. Guedes I at 128-29, 137. 6

        Plaintiffs in both cases appealed the denial of the preliminary injunction motion, and the D.C.

Circuit affirmed. See Guedes v. ATF, 920 F.3d 1 (D.C. Cir. 2019) (“Guedes II”). Although rejecting

Defendants’ understanding of the Rule as the “agency’s interpretation of the best reading of the

statutory definition” and concluding that the Rule is instead legislative in character, id. at 19-20, the

Court of Appeals agreed with Defendants and this Court that the Rule reasonably interprets the

statutory definition and applies that definition to bump stocks. Id. at 29-34. 7 The Court of Appeals
also rejected any suggestion that Defendants lacked authority to promulgate the Rule. Id. at 18, 27.

Noting that Plaintiffs’ retroactivity claim had “been forfeited because the plaintiff failed to raise it in

the district court” preliminary injunction proceedings, the Court of Appeals explained it would reject

an Ex Post Facto Clause challenge, finding that the Rule is not retroactive in light of the opinion’s

earlier conclusion that the Rule is legislative in character. Id. at 35. Plaintiffs sought a writ of

certiorari, which was denied, with a brief explanatory statement by Justice Gorsuch concurring in the

denial. See Guedes v. ATF, No. 19-296, 140 S. Ct. 789 (Mar. 2, 2020) (“Guedes III”).

    E. Other Litigation Over the Rule

        In addition to the cases in this Court, the Rule has been subject to several other challenges

across the country. Like this court, a district court in Utah denied a preliminary injunction, finding

that plaintiffs lacked a likelihood of success on challenges similar to the ones raised in this case, and

the Tenth Circuit affirmed. See Aposhian v. Barr, 374 F. Supp. 3d 1145 (D. Utah 2019); aff’d --- F.3d ---,

2020 WL 2204198 (10th Cir. May 7, 2020). A district court in Michigan also denied a preliminary


6
  This case no longer presents a challenge to the validity of the designation of former Acting
Attorney General Matthew Whitaker, a question which has already been litigated to dismissal in a
separate case before this Court. See Firearms Policy Coal. v. Barr, 419 F. Supp. 3d 118 (D.D.C. 2019)
(Case No. 18-cv-3083).
7
  A dissent concluded that the Final Rule erred as to its interpretation of one of the statutory terms and
in its application of the Department’s interpretation of the term “automatically” to bump stocks.
Guedes II, 920 F.3d at 42 (Henderson, J., dissenting).
                                                      8
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injunction against the Rule, and an appeal of that decision remains pending. See Gun Owners of Am.

(“GOA”) v. Barr, 363 F. Supp. 3d 823 (W.D. Mich. 2019), appeal docketed, No. 19-1298 (6th Cir. Mar.

25, 2019). The Court of Federal Claims has dismissed two takings cases seeking compensation for

bump stocks abandoned or destroyed pursuant to the Rule; a third such challenge remains pending in

that court while the two dismissals are on appeal to the Federal Circuit. See McCutchen v. United States,

145 Fed. Cl. 42 (Fed. Cl. 2019), appeal docketed Nov. 27, 2019, No. 20-1188 (Fed. Cir.); Modern

Sportsman, LLC v. United States, 145 Fed. Cl. 575 (Fed. Cl. 2019), appeal docketed Nov. 1, 2019, No. 20-

1107 (Fed. Cir.); Rouse v. U.S., 18-cv-1980 (Fed. Cl.). Several other challenges to the Rule remain

pending in district courts. See Hardin v. ATF, Case No. 19-cv-56 (W.D. Ky.); Cargill v. Barr, Case No.

19-cv-349 (W.D. Tex.); Lane v. USA, 3:19-cv-01492-S (N.D. Tex.); Doe v. Trump, Case No. 3:19-cv-

00006-SMY-RJD (S.D. Ill.).

                                       STANDARD OF REVIEW

        Under Rule 56, summary judgment is to be granted if the moving party “shows that there is

no genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a). “In an APA case like this one, summary judgment ‘serves as the

mechanism for deciding, as a matter of law, whether the agency action is supported by the

administrative record and otherwise consistent with the APA standard of review.’” Friends of Animals

v. Ross, 396 F. Supp. 3d 1, 7 (quoting Sierra Club v. Mainella, 459 F. Supp. 2d 76, 90 (D.D.C. 2006)).

“The function of the district court is to determine whether or not as a matter of law the evidence in

the administrative record permitted the agency to make the decision it did.” Mainella, 459 F. Supp.

2d 90 (internal quotations omitted).

        The Court’s function in reviewing final agency action, as prescribed by the APA, is

“fundamentally deferential—especially with respect to matters relating to an agency’s areas of

technical expertise.” Friends of Animals, 396 F. Supp. 3d 1, 7 (D.D.C. 2019) (quoting Fox v. Clinton,

684 F.3d 67, 75 (D.C. Cir. 2012)). The Court is to determine whether the challenged agency action

is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law,” 5 U.S.C.

§ 706(2)(A), and the plaintiff bears the burden of proof in establishing that the legal standard is met.

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See San Luis Obispo Mothers for Peace v. Nuclear Regulatory Comm’n, 789 F.2d 26, 37 (D.C. Cir. 1986) (en

banc). The Court “is not to substitute its judgment for that of the agency.” Motor Vehicle Mfrs. Ass’n

of U.S. v. State Farm Mut. Auto. Ins., 463 U.S. 29, 43 (1983). Rather, review is limited to whether the

agency “relied on factors that Congress has not intended it to consider, entirely failed to consider an

important aspect of the problem, . . . offered an explanation . . . [that] runs counter to the evidence

before the agency, or is so implausible that it could not be ascribed to a difference in view or the

product of agency expertise.” Agape Church v. FCC, 738 F.3d 397, 412 (D.C. Cir. 2013) (quoting State

Farm, 463 U.S. at 43); see also Bell Atlantic Telephone Cos. v. FCC, 79 F.3d 1195, 1202 (D.C. Cir. 1996).

                                             ARGUMENT
I.      The Rule Is Not Arbitrary or Capricious in Its Definitions or Treatment of Bump
        Stocks.
        This Court and the Court of Appeals have already rejected many of plaintiffs’ challenges to

the Rule in ruling on Plaintiffs’ motions for a preliminary injunction. The same result should obtain

here. Although both this Court and the Court of Appeals applied Chevron deference to the Rule in

those earlier opinions, see Guedes II, 920 F.3d at 29; Guedes I, 356 F. Supp. 3d at 129, this Court need

not apply Chevron deference to grant summary judgment to the government. As the Supreme Court

has explained, resort to deference is unnecessary where an agency has adopted “the position [the

court] would adopt” when “interpreting the statute from scratch.” Edelman v. Lynchburg Coll., 535

U.S. 106, 114 (2002); see also Guedes III, 140 S. Ct. 789-90 (statement of Gorsuch, J.). Because the

Rule adopts the correct interpretations of the terms “single function of the trigger” and

“automatically” as used in the definition of a machine gun and correctly applies those terms to bump

stocks, this Court can and should grant summary judgment to the government on that basis. See

Aposhian, 374 F. Supp. 3d at 1151 & n.8. If, however, the Court concludes that application of

deference is appropriate, then both this Court and the Court of Appeals have already held that

Plaintiffs could not establish a substantial likelihood of success on many of their claims, rejecting

many of plaintiffs’ specific substantive and procedural challenges in the process. See generally Guedes II,

920 F.3d at 29-35. Those conclusions would be equally applicable here, and Defendants are


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therefore entitled to summary judgment on Plaintiffs’ challenges to the Rule.

    A.        The Rule Gives the Terms “Single Function of the Trigger” and “Automatically”
              Their Ordinary, Accepted Meaning.
         The Rule interprets the phrase “single function of the trigger” to mean “a single pull of the

trigger,” along with “analogous motions,” an interpretation that “reflect[s] ATF’s position since 2006.”

83 FR 66518. As this Court explained in Guedes I, this interprets the statute “from the perspective of

the shooter.” 356 F. Supp. 3d 130. The Rule and the district court in Aposhian both recognized that

this “shooter-focused interpretation” is not only reasonable, but is “the best interpretation” of the

phrase. Aposhian, 374 F. Supp. 3d 1151; see 83 FR 66518.

         Courts “interpret the words [of a statute] consistent with their ordinary meaning at the time

Congress enacted the statute,” Guedes I, 356 F. Supp. 3d 130 (quoting Wisc. Cent. Ltd. v. United States, ---

U.S. ---, 138 S. Ct. 2067, 2070 (2018)), and “[g]enerally, courts rely on dictionaries from the time

statutes became law” to undertake this task. Id. When, as here, those dictionaries “are of little help” in

interpreting the term “single function of the trigger,” id., the Court may appropriately turn to the long-

time, common-sense understanding that a single pull of the trigger is the manner in which most

personal guns are fired (by the shooter’s pull on a curved trigger). For this reason, courts have

“instinctively reached for the word ‘pull’ when discussing the statutory definition of ‘machinegun.’”

Guedes I, 356 F. Supp. 3d 130 (citing Staples v. U.S. 511 U.S. 600, 602 n.1 (1994) and U.S. v. Oakes, 564

F.2d 384, 388 (10th Cir. 1977)).

         In Staples, the Supreme Court described a machine gun within the NFA’s definition as “a

weapon that fires repeatedly with a single pull of the trigger.” 511 U.S. 600, 602 n.1. In Oakes, the

court explained that automatic fire was achieved “with a single trigger function” by means of “the

shooter . . . fully pulling the trigger.” 564 F.2d 388. This accords with common usage in dictionaries

and other sources both before and since the enactment of the NFA, including the time in which

Congress incorporated the NFA’s definition of machine gun into the GCA and the FOPA. See, e.g.,

Webster’s New World Dictionary 1177 (3d ed. 1988) (defining “Russian roulette” as involving

“aim[ing] a gun . . . and pull[ing] the trigger”); Nightline: Biting the Bullet at the NRA [National Rifle

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Association], (ABC television broadcast, June 8, 1990) (NRA President Joe Foss: “[semi-automatic] guns

are like any other gun . . . they’re a single-shot, every time you pull the trigger it shoots”); Dwight D.

Eisenhower, Address to the American Society of Newspaper Editors (Apr. 17, 1958), in Public Papers of the

Presidents of the United States (1958) (“It is far more important to be able to hit the target than it is to

haggle over who makes a weapon or who pulls a trigger”); see also Oliver Wendell Holmes, Jr., The

Common Law: Lecture IV (1881) (an ordinary person “would foresee the possibility of danger from

pointing a gun which he had not inspected into a crowd, and pulling the trigger, although it was said to

be unloaded”).
       The Rule’s interpretation of “single function of the trigger” also reflects longstanding

interpretations by ATF, dating to the 2006 ruling that corrected the misclassification of the Akins

Accelerator. See AR005599. There, ATF concluded that a device “activated by a single pull of the

trigger, initiat[ing] an automatic firing cycle which continues until either the finger is released or the

ammunition supply is exhausted,” should be classified as a machine gun. The ruling noted, as the Rule

does, that this “determination is consistent with the legislative history of the NFA.” AR005600. In

particular, Congress received testimony in 1934 that a gun “which is capable of firing more than one

shot by a single pull of the trigger, a single function of the trigger, is properly regarded . . . as a machine

gun,” whereas “[o]ther guns [that] require a separate pull of the trigger for every shot fired . . . are not

properly designated as machine guns.” AR004230 (reproducing Nat’l Firearms Act: Hrg’s Before the

Comm. on Ways and Means, House of Rep’s, Second Session H.R. 9066, 73rd Cong., at 40 (1934)). And

in explaining the definition of “machinegun” in the bill that ultimately became the National Firearms

Act, see H.R. 9741, 73d Cong. (1934), the House Committee on Ways and Means report stated that bill

“contains the usual definition of machine gun as a weapon designed to shoot more than one shot

without reloading and by a single pull of the trigger.” H.R. Rep. No. 73-1780, at 2 (1934); see S. Rep.

No. 73-1444 (1934) (reprinting House’s “detailed explanation” of the provisions).

       The Rule explains that the “single function of the trigger” is the action that initiates a firing

sequence that continues automatically, and is therefore consistent with numerous cases recognizing

that the definition of this term is not limited either to a specific method of making that trigger

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function or to a specific kind of “trigger” mechanism. As the Ninth Circuit explained in United States

v. Evans, 978 F.2d 1112, 1113 n.2 (9th Cir. 1992), “‘by a single function of the trigger’ describes the

action that enables the weapon to ‘shoot ... automatically ... without manual reloading,’ not the

‘trigger’ mechanism” itself. This is necessary to ensure that the statutory definition applies to

weapons that have “no mechanical trigger” at all. United States v. Carter, 465 F.3d 658 (6th Cir. 2006)

(per curiam). In Carter, the Sixth Circuit applied the statutory definition to a modified weapon that,

although lacking a traditional “trigger,” fired automatically when a shooter put a magazine in the

weapon, “held it at the magazine port, pulled the bolt back and released it.” Id. Other courts have

similarly recognized that a trigger is whatever mechanism serves “to initiate the firing sequence” of a

weapon, thereby ensuring that creative or innovative designs cannot be used to circumvent the

definition of machinegun. United States v. Jokel, 969 F.2d 132, 135 (5th Cir. 1992) (per curiam); accord

United States v. Fleischli, 305 F.3d 643, 655-56 (7th Cir. 2002) (holding that a minigun fired by “an

electronic switch” was a machinegun). And the Rule reflects this longstanding interpretive approach

by stating that a “single function of the trigger” encompasses “a single pull of the trigger and

analogous motions” like pressing a button, flipping a switch, or otherwise initiating the firing

sequence without pulling a traditional trigger. 83 FR 66553. See also id. 66515 (“there are other

methods of initiating an automatic firing sequence that do not require a pull”); id. (observing that

many machineguns “operate through a trigger activated by a push”); accord AR000660 (documenting

ATF’s classification as a machine gun the “AutoGlove,” designed to be a glove worn by a shooter, in

which pushing a button inside the glove led to an electromechanical “finger” pulling repeatedly the

trigger of an ordinary firearm); accord Ex. 1 at 61 (AR002333).

       The Rule’s interpretation of “automatically” as meaning “the result of a self-acting or self-

regulating mechanism that allows the firing of multiple rounds through a single pull of the trigger” is

likewise “the best interpretation of the statute.” Aposhian, 374 F. Supp. 3d 1153. “This interpretive

language is borrowed, nearly word-for-word, from dictionary definitions contemporaneous to the

NFA’s enactment, id. (citing 83 FR 66519), as this Court recognized in Guedes I. See 356 F. Supp. 3d

131 (quoting “automatic,” Webster's New International Dictionary 157 (1933); “automatic,” 1 Oxford

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English Dictionary 574 (1933)). As this Court also highlighted, the Rule’s interpretation of

“automatically” is “[c]onsistent with . . . the Seventh Circuit’s decision in [U.S. v. ]Olofson, concluding

that “‘automatically . . . delineates how the discharge of multiple rounds from a weapon occurs: as the

result of a self-acting mechanism . . . set in motion by a single function of the trigger and . . .

accomplished without manual reloading.” 356 F. Supp. 3d 131 (quoting Olofson, 563 F.3d 652, 658

(7th Cir. 2009)).

    B.       The Rule Correctly Applies Its Interpretations of “Single Function of the Trigger”
             and “Automatically” To Classify Bump Stocks As Machine Guns.
         As set forth in the Rule, applying the correct definitions of the statutory terms “single function

of the trigger” and “automatically” to bump stocks demonstrates that they are machineguns under

federal law. A bump stock produces automatic fire by a single function of the trigger “because a bump

stock permits the shooter to discharge multiple rounds by, among other things, ‘maintaining the trigger

finger on the device’s extension ledge with constant rearward pressure.’” Guedes I, 356 F. Supp. 3d 132

(quoting 83 FR 66532). This Court explained the application of the statutory terms cogently in

Guedes I:

         [A] bump stock permits a firearm to function automatically by directing the recoil
         energy of the discharged rounds into the space created by the sliding stock in
         constrained linear rearward and forward paths so that the shooter can maintain a
         continuous firing sequence. . . . [W]ithout such a device, the shooter would have to
         manually capture, harness, or otherwise utilize the recoil energy to fire additional
         rounds and bump fire a gun. In other words, the bump stock makes it easier to bump
         fire because it controls the distance the firearm recoils and ensures that the firearm
         moves linearly—two tasks the shooter would ordinarily have to perform manually. In
         this way, a bump stock creates a self-acting mechanism that permits the discharge of
         multiple rounds with a single function of the trigger without manual reloading.
Id. at 132-33 (cleaned up). To be sure, this cycle requires certain “conditions [to be] fixed” to ensure

that “a firing sequence that produces more than one shot” occurs, 83 FR 66519, but the Court
correctly recognized that “the definition of ‘automatically’ does not mean that an automatic device

must operate spontaneously without any manual input,” Guedes I, 356 F. Supp. 3d at 132. The Court

analogized this usage of “automatic” to “[a]n automatic sewing machine . . . [which] still requires the

user to press a pedal and direct the fabric.” Id at 131. This analogy illustrates the error in the Codrea

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Plaintiffs’ contention that a bump stock is not a machine gun because it requires “coordinated skilled

effort” on the part of the shooter. Codrea SAC ¶ 50.

        Citing to the views of Mr. Len Savage, who provided materials submitted as part of Plaintiff

Heuman’s comment on the NPRM and submitted his own comment, see Ex. 1 at 50, 135A

(AR003614); see also AR002664, the Codrea Plaintiffs assert that the “only self acting and self regulating

force of a bump-type-stock-device is provided by the shooter and the firearm [and] none is provided

by the stock.” Codrea SAC ¶ 45; see Ex. 1 at 2 et seq. (AR002664). But that mistakenly assumes that a

bump stock must provide a “force” to provide the self-acting mechanism necessary to satisfy the

definition of “automatically.” To the contrary, because the bump stock’s function is to assist the

shooter in harnessing the force of recoil, it need do no more than create limits on that force, thereby

providing constraints to the rifle’s motion that “the shooter would ordinarily have to [provide]

manually.” Guedes I, 356 F. Supp. 3d at 132. DOJ engaged with this and similar comments in the Rule

itself, explaining that the “constrained linear rearward and forward paths” provided by a bump stock

are what make such stocks “different from a traditional shoulder stock,” allowing “shooters to fire . . .

without repeated manual manipulation of the trigger by the shooter.” 83 FR 66532; see Ex. 1 at 77

(AR002240); Ex. 1 at 79 (AR002273); Ex. 1 at 81 (AR002320); Ex. 1 at 84 (AR003951). The Rule’s

response explained that many other commenters had provided descriptions that confirm that bump

stocks provide a self-regulating mechanism that assists in bump-firing, see, e.g., Ex. 1 at 87 (AR001526);

Ex. 1 at 90 (AR001664). Indeed, the Codrea Plaintiffs themselves acknowledge in the portion of Mr.

Savage’s analysis excerpted in the Complaint that the “small amount of linear motion of the firearm

frame” permitted by a bump stock “allow[s]s for safe control of the firearm . . . [with] less risk of loss

of control of the firearm.” Codrea SAC ¶ 45

        The Guedes Plaintiffs rely on a different report by a different individual, former ATF official

Rick Vasquez, see Guedes SAC ¶ 98, but that report is equally flawed. In opining that “the shooter

must still separately pull the trigger to fire each successive shot,” id. & Guedes SAC Ex. A at 901, Mr.

Vasquez erroneously conflates the mechanical operation of the trigger with the legal definition of the



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term “single function of the trigger” adopted by the Rule. 8 Because a “single function of the trigger” is

the action that initiates a firing sequence that continues automatically, see supra, the fact that the trigger

may release and rest between rounds is irrelevant to whether there is a “single pull” of the trigger. See

Guedes I, 356 F. Supp. 3d at 132. The video submitted by Plaintiff FPF alongside its comment is no

more compelling. See AR 3314; https://youtu.be/1OyK2RdO63U. While Plaintiffs contend that “the

video shows that each shot requires a separate pull of the trigger,” Guedes SAC at ¶ 99, the focus in the

slow-motion portion of the video on whether separation occurs ignores that a continuing pull of the

trigger may continue as long as there is a single volitional act to “hold[] the trigger finger stationary.”

Guedes II, 920 F.3d at 33. Nor do the slight motions by the trigger finger between the firing of each

round demonstrate a volitional impulse on the part of the shooter, let alone the conscious, “additional

physical manipulation” of the trigger that Plaintiffs assert is “necessary.” Guedes SAC at ¶ 99

(emphasis omitted).

        The administrative record provides additional evidence which the Department reasonably

credited over Plaintiffs’ videos and reports in concluding bump stocks should be classified as machine

guns. For example, the record highlights the statements of a major bump stock manufacturer, Bump

Fire Systems, that its device “uses a gun’s recoil to shoot multiple rounds.” AR000837; AR000840.

The record also identifies a mechanical explanation described by ATF as a “great animation for

understanding bump stocks,” which illustrates the manner in which the trigger finger remains fixed

and the other hand provides constant pressure, permitting the “harnessing [of] energy” from the recoil

into an automatic process. AR000716, see https://www.nytimes.com/interactive/2017/10/04/us/

bump-stock-las-vegas-gun.html (last visited May 15, 2020). In addition, the patent application for the

Slide Fire bump stock, one of the Las Vegas shooter’s weapons, explains that the core of the

innovation in a bump stock is that “[t]he shoulder stock and pistol grip and finger rest are fixed

together as a monolithic handle unit that, in use, is held tight to the user’s body,” AR 000382, and thus,

8
 As this Court recognized in Guedes I, Mr. Vasquez’s views as a former agency official are entitled to
no special weight. See 356 F. Supp. 3d at 132 n.4 (citing Via Christi Regional Med. Ctr. v. Leavitt, 2006
WL 2773006, at *13 n.3 (D. Kan. Sept. 25, 2006) (“the personal opinion of [former agency] officials
as to what [] regulations were intended to mean . . . does not bind the agency”).
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this unit (including the user’s trigger finger) “remain[s] relatively stationary as they are pulled” in the

bump-firing mode. 9 AR 000385.

    C.       The Rule Reasonably Distinguishes Between Bump Stocks, Other Weapons, and
             Other Methods of Bump Firing a Weapon.
         Plaintiffs in each of the cases take issue with the Rule’s conclusions that bump stocks are

machine guns and certain other weapons and methods of bump firing are not machine guns. The

Codrea Plaintiffs focus on firearms components called binary triggers and on “Model 37 pump

shotguns” and other similar shotguns. Codrea SAC ¶ 51. However, the administrative record

demonstrates that the Department considered and reasonably rejected these arguments, because

commenters made the Department aware of these concerns during the rulemaking process, and the

Department responded. See, e.g. Ex. 1 at 91 (AR002712); Ex. 1 at 101 (AR003257). In the text of the

Rule, ATF logically explained that Model 37 pump shotguns do not shoot a second shot

“automatically” or “without manual reloading” because the shooter must “pump the fore-end” to load

a new shell after the first discharge. 83 FR 66534. That the newly-loaded shell then fires without a

separate function of the trigger does not mean that the pump shotgun is automatic. See id. The Rule

likewise explains the distinction between a bump stock and a binary trigger: when the trigger “release

results in a second shot being fired,” the trigger release is the analogous motion to the pull of the

trigger that constitutes a second function of the trigger. Id. Thus, although a binary trigger does

permit two rounds to be fired with a single pull of the trigger, only one round is being fired for each

single function of the trigger. See Guedes II, 920 F.3d at 33 (“the Rule reasonably distinguishes

binary-trigger guns on the ground that they require a second act of volition with the trigger finger”)

(emphasis omitted); Guedes I, 356 F. Supp. 3d at 136 (“”ATF adequately and reasonably responded

to comments arguing that the ‘proposed regulatory text encompasses ... binary triggers’”).

         The Guedes Plaintiffs challenge a different set of distinctions, alleging that the Rule is


9
 The portions of the administrative record cited in this paragraph and elsewhere, like the capacious
review contained in the Rule itself, demonstrate the error of the Guedes Plaintiffs’ thesis that there is
“no evidence in support of [Defendants’] ‘legal analysis’ . . . that bump-stock-type devices are
‘machineguns.’” Guedes SAC ¶ 97.
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arbitrary and capricious because it does not treat rubber bands, belt loops, or “training one’s trigger

finger to fire more rapidly” as machine guns. Guedes SAC at ¶ 103. Commenters raised the same

objection numerous times following publication of the NPRM, see, e.g., Ex. 1 at 103 (AR002571), Ex.

1 at 105 (AR002622), Ex. 1 at 107 (AR002735); Ex. 1 at 109 (AR002987), and the Rule addressed

these comments, stating that, unlike a belt loop or a rubber band, bump stocks are “designed to be

affixed” to a semiautomatic firearm. 83 FR 66515; 83 FR 66533; see also 83 FR 66531-32 (describing

how the linear space in a bump stock functions as a self-regulating mechanism to assist in resetting

the trigger). As this Court previously explained and the Court of Appeals confirmed, Defendants

“‘clearly thought about [their] objections and provided reasoned replies,’ which is ‘all the APA

requires.’” Guedes I, 356 F. Supp. 3d at 135 (quoting City of Portland v. EPA, 507 F.3d 706, 714 (D.C.

Cir. 2007)); see Guedes II, 920 F.3d at 32 (“belt loops, unlike bump stocks, do not transform

semiautomatic weapons into statutory ‘machineguns[,]’ [o]r so [Defendants] reasonably concluded in

the Rule”).

    D.        The Rule Reasonably Required That Bump Stocks Be Destroyed, Not Disabled.
         As a separate question from whether the Rule properly classifies bump stocks as machine

guns, the Codrea Plaintiffs also contend that the Rule is arbitrary and capricious because it does not

permit bump stock owners to continue to possess a bump stock that has been “rendered inoperable.”

Codrea SAC ¶ 55. In particular, the Codrea Plaintiffs highlight the fact that a bump stock owner could

“permanently disabl[e] the sliding feature of the stock,” id., rather than carrying out the procedures for

“destroy[ing] a bump stock by cutting,” “crushing, melting, or shredding” the device, as required by

the Rule and ATF instructions for destruction. Id. ¶¶ 57-58. However, Defendants reasonably

concluded in the Rule that lesser methods of destruction would leave bump stocks capable of

“operat[ing] as designed” and firing more than one shot automatically with a single function of the

trigger. See 83 FR 66537.

         Commenters to the NPRM raised the possibility that “modification of an existing [bump

stock] device” would suffice to take it outside the Rule’s clarified definition of “machinegun.” Ex. 1 at


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112 (AR002531); Ex. 1 at 61-61a (AR002333) (“removing the extension ledge means that there is no

longer an extension ledge or similar item upon which the shooter’s finger can maintain rearward

pressure, . . . [s]uch a device could therefore not be a machinegun under [ATF’s definition]”); Ex. 1 at

62 (AR002629); see generally 83 FR 66536-66537; The Rule specifically quoted the analysis of a specific

commenter who observed that “the only objective difference between ‘bump firing’ . . . without a

bump-stock-type device” and bump-firing with a bump stock “is that the device has an extension

ledge (“finger rest”) for resting the trigger finger.” Ex. 1 at 118 (AR003952). However, Defendants

considered that commenter’s analysis and explained that “even without the trigger ledge, the bump-

stock-type device will operate as designed if the shooter simply holds his or her finger in place.” 83

FR 66537. Because a bump stock would continue to facilitate bump-firing even if the sliding feature

of the stock was disabled through removal of the extension ledge, the Rule reasonably mandated the

complete destruction of bump stocks, and the decision to do so was not arbitrary or capricious. 10

     E.       The Rule Properly Reflects Input From Elected Officials.

          Plaintiffs are also in error in their contention that the agency’s consideration of the views of

the President renders the Rule arbitrary and capricious. See Codrea SAC at ¶ 70; Guedes SAC at ¶ 93.

But as the Court of Appeals explained in rejecting this argument at the preliminary injunction stage,

“[p]residential administrations are elected to make policy,” Guedes II, 920 F.3d at 34, and so, as the

Supreme Court has recognized, it is entirely proper for an agency to consider “Presidential oversight”

in adopting policy changes. See FCC v. Fox Television Stations, 556 U.S. 502, 523 (2009) (rejecting

dissenting view that independent agencies should be “sheltered” from political influence). For this

reason, “[a]s long as [an] agency remains within the bounds established by Congress, it is entitled to

assess administrative records and evaluate priorities in light of the philosophy of the administration.”

Guedes II, 920 F.3d at 34 (quoting Nat’l Ass’n of Home Builders v. EPA, 682 F.3d 1032, 1043 (D.C. Cir.

10
  The Codrea Plaintiffs also err when they assert that bump stock owners face legal jeopardy from
the possibility that Defendants could “chang[e] the website” on which ATF posted the instructions
for destroying a bump stock. Codrea SAC ¶ 61; see id. ¶¶ 58-60. As the Codrea Plaintiffs recognize,
however, the Rule required that possessors “throw the pieces away” after destroying the bump
stock, see id. ¶ 61 n.10 (quoting 83 FR 66530), and compliance with this requirement would protect a
former bump stock owner from the Codrea Plaintiffs’ unlikely hypothetical.
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2012)). And as the court of appeals observed, “the agency has articulated a satisfactory explanation for

the Bump-Stock Rule.” Id. Moreover, the President’s direction to the Attorney General regarding the

Rule explicitly instructed that the agency follow “the rule of law and . . . the procedures the law

prescribes,” recognizing the “established legal protocols” required by the APA. AR000790, Definition of

Machinegun, 83 FR 7949.

         In any event, Plaintiffs provide no reason to depart from these conclusions. They do not

explain how input from an elected official would alter the correct reading of the statutory terms in the

definition of machine gun, which is what the Rule sets forth. Nor do Plaintiffs offer any case law to

support their remarkable suggestion that presidential input into the policymaking process renders an

otherwise-reasonable outcome arbitrary and capricious. Instead Plaintiffs quote a law review article

cited in a comment to the NPRM, but that article itself concedes that “[t]here is nothing nefarious when a

new administration disagrees” with the interpretations of a prior administration and changes those

interpretations. Josh Blackman, Presidential Maladministration, 2018 Ill. L. Rev. 397, 405 (2018)

(emphasis added); see Guedes SAC ¶ 95.

         Finally, the President’s direction to the Attorney General regarding the Rule explicitly

instructed that the agency follow “the rule of law and . . . the procedures the law prescribes,”

recognizing the “established legal protocols” required by the APA. AR000790, Definition of Machinegun,

83 FR 7949. As the Court of Appeals explained, “[a]ll would agree” that Defendants adopted the Rule

because of “the urging of the President, Members of Congress, and others, as part of an immediate

and widespread [public] outcry.” Guedes II, 920 F.3d at 34. Because the Rule is open in its

acknowledgment that public attention, congressional interest, and Presidential input played a role in

prompting the reconsideration of DOJ’s past analyses and definitions, the standards of the APA are

satisfied. See id.; ATX, Inc. v. U.S. Dep’t of Transp., 41 F.3d 1522, 1528 (D.C. Cir. 1994).

    F.       The Rule Properly Explains the Department’s Change in Course.

         Plaintiffs also suggest that the Rule violates the APA because it represents a “departure from

prior practice.” Codrea SAC at ¶ 69; see Guedes SAC at ¶¶ 5, 95. But, as the D.C. Circuit has

recognized, “agency views may change,” Springfield, Inc. v. Buckles, 292 F.3d 813, 819 (D.C. Cir. 2002),

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and “[t]he standard for reviewing an agency’s rule or interpretation of a statute does not change just

because the agency reversed course and altered its prior interpretation.” GOA, 363 F. Supp. 3d at 833

(citing Fox Television, 556 U.S. at 515). As this Court explained in Guedes I, when changing position, an

agency must demonstrate that “the new policy is permissible under the statute, . . . acknowledge it is

changing its policy . . . and that the agency believes it to be better, which the conscious change of

course adequately indicates.” 356 F. Supp. 3d at 133 (alterations omitted) (quoting Nat’l Lifeline Ass’n,

915 F.3d at 28); see also Springfield, 292 F.3d at 819 (“The courts may require only ‘a reasoned analysis

indicating that prior policies and standards are being deliberately changed, not causally ignored.”). In

its opinion, the Court explained at length Defendants’ conscious treatment of the differing, past

classifications of bump stocks, the agency’s explicit acknowledgment of the change in course, and its

explanation that the Rule now adopts “the best interpretation of [the statute].” Guedes I, 356 F. Supp.

3d at 133-34; see 83 FR 66514, 66516-517, 66520, 66527. Indeed, the Department described

specifically the error it had identified in its past interpretation: that, “[w]hile the Department accepted

the previous classification of some [bump stocks] as non-machineguns, it relied on the mistaken

premise that the need for ‘shooter input’ . . . for firing with [bump stocks] means that such devices do

not enable ‘automatic’ firing.” 83 FR 66531. For these reasons, the Department’s adoption of the

correct reading of the statutory text by definition satisfies the standards of the APA. Cf. Abramski v.

U.S., 573 U.S. 169, 191 (2014) (observing that “[w]hether the Government interprets a criminal statute

too broadly . . . or too narrowly” does not change the meaning of the statute).

    G.       The Rule of Lenity Does Not Prohibit the Department’s Interpretation.

         The Guedes Plaintiffs assert that the “rule of lenity” requires rejecting the Department’s

conclusion that bump stocks are machine guns in favor of their own view that bump stocks fall

outside the statutory definition. However, that doctrine applies only where, “after considering text,

structure, history, and purpose, there remains a grievous ambiguity or uncertainty in the statute such

that the Court must simply guess as to what Congress intended.” Maracich v. Spears, 570 U.S. 48, 76

(2013); see also United States v. McDonald, 991 F.2d 866, 870 (D.C. Cir. 1993) (“grievous” uncertainty is

“an essential condition for applying” the rule of lenity). As the D.C. Circuit recognized in Guedes II,

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the Supreme Court has “characteriz[ed] the rule of lenity as a canon of last resort . . . [that] ‘applies

only ‘when the ordinary canons of statutory construction have revealed no satisfactory construction.’”

920 F.3d at 27 (quoting Lockhart v. United States, 136 S. Ct. 958, 968 (2016)); see also United States v.

Anderson, 59 F.3d 1323, 1334 (D.C. Cir. 1995) (en banc) (Buckley, J., concurring); id. at 1335

(Randolph, J., concurring). The Rule’s application of the terms used to define “machinegun” in the

NFA is correct, and so there is no ambiguity, let alone “grievous ambiguity,” in the statute such that

the rule of lenity would apply. See 83 FR 66517, 66518 (explaining that the Rule sets forth the “best

interpretation” of the statute.

    H.       The Rulemaking Is Procedurally Valid.

         The Guedes Plaintiffs contend that Defendants erred by failing to provide an oral hearing to

Plaintiff FPF and by purportedly “depriv[ing] . . . [the] ability to submit comments” to certain

commenters for the first “five days” after “the publication of the NPR[M].” Guedes SAC ¶¶ 117-18;

see generally id. ¶¶ 114-125. Plaintiffs’ claims arise from their interpretation of 18 U.S.C. § 926(b), which

requires that “[t]he Attorney General shall give not less than ninety days public notice, and shall afford

interested parties opportunity for hearing, before prescribing [] rules and regulations” interpreting the

GCA and NFA. As this Court correctly concluded in Guedes I, Plaintiffs’ procedural arguments cannot

succeed because Defendants complied with Section 926(b) and, in any event, no “prejudicial error”

under the APA could have arisen from the alleged procedural defects. See 356 F. Supp. 3d 136; Ozark

Auto. Distrib., Inc. v. NLRB, 779 F.3d 576, 582 (D.C. Cir. 2015) (“In administrative law . . . there is a

harmless error rule: § 706 of the APA, 5 U.S.C. § 706, instructs reviewing courts to take ‘due account

. . . of the rule of prejudicial error’”).

         “‘[T]he term ‘hearing’ in its legal context . . . has a host of meanings,’ including the opportunity

to submit written comments without oral presentation. And it is well established that the requirement

for a ‘hearing,’ as opposed to a ‘hearing on the record,’ generally does not require a formal, oral

hearing.” Guedes I, 356 F. Supp. 3d at 136 (quoting United States v. Fla. E. Coast Ry. Co., 410 U.S. 224,

239, 241-42 (1973)). “Indeed, the Fourth Circuit has held that the hearing requirement in § 926(b)

requires only that the Secretary ‘provide interested parties with the opportunity to submit written

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comments.’” Id. (quoting Nat’l Rifle Ass’n v. Brady, 914 F.2d 475, 485 (4th Cir. 1990)). And, as

explained in the text of the Rule itself, the comprehensive public record from comments suggests that

“a public hearing would [not] meaningfully add data or information germane to the examination of the

merits of the proposal or . . . provide substantive factual information that would assist the Department

in improving the rule in material ways.” 83 FR 66542.

        As to the length of the comment period, members of the public were provided 90 days to

comment, notwithstanding Plaintiffs’ allegations otherwise and the modest technical difficulties that

occurred on a government website. The Rule “acknowledge[d] that upon publication of the NPRM

on March 29, 2018, there was some confusion within the first 24 to 48 hours about submitting

comments through the Federal eRulemaking Portal.” 83 FR 66541. One source of confusion arose

through an error made by the third-party managers of the Regulations.gov website, who placed the link

for providing comments under the “Docket ID” for a different, already-closed rulemaking. See 83 FR

66542 (explaining that “the ANPRM link . . . was prominently situated on the homepage of the

Regulations.gov website even though that link was no longer able to accept comments”). But these

technical problems did not preclude comments: as the Rule made clear, “a simple search for ‘bump

stock’ in the main search bar on Regulations.gov during this time would have displayed the link for the

new NPRM Docket ID, which was active and accepting comments.” 11 Id. Further, Plaintiffs have not

identified any way in which extending the comment period an additional five days or otherwise

responding to the brief technical difficulties would have been anything other than a “meaningless

gesture.” Nevada v. Dep’t of Energy, 457 F.3d 78, 90 (D.C. Cir. 2006). For these reasons, this Court

correctly recognized that any “mistake did not affect the outcome . . . [or] prejudice the [Plaintiffs], [so]

it would be senseless to vacate and remand” the Rule on this basis. Guedes I at 136 (quoting PDK Labs.


11
  Although some commenters apparently also encountered an error in which “the website
specifically declared that the comment period was ‘closed,’” Guedes SAC at ¶ 117, Defendants
“received numerous comments from the very beginning of the comment period.” 83 FR 66542; see
AR002195-AR002211 (documenting hundreds of comments received on the first two days of the
comment period, Mar. 29-30, 2018). Further, those commenters “were able to submit comments
during the remaining 85 days of the comment period . . . [and] to submit comments by mail and
facsimile throughout the comment period.” Guedes I, 356 F. Supp. 3d at 137.
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v. DEA, 362 F.3d 786, 799 (D.C. Cir. 2004)).

II.        The Rule Is Promulgated Pursuant to Valid Authority.

      A.       Congress Has Provided Defendants With the Authority to Issue the Rule.

           Both sets of Plaintiffs allege that the Department lacked the authority to promulgate the Rule,

see Codrea SAC ¶¶ 30-31, Guedes SAC ¶¶ 72, 74, 77-89, and assert that the Department’s actions are

therefore invalid and ultra vires. Codrea SAC ¶¶ 63-66, Guedes SAC ¶ 89. At the outset, Plaintiffs’

allegations regarding Departmental authority largely overlap with their claim that the interpretations in

the Rule are arbitrary and capricious or contrary to law. See Codrea SAC ¶ 66 (Rule is ultra vires because

it is “in open defiance of statutory text”); Guedes SAC ¶¶ 72-74, 77-80. To the extent that Plaintiffs’

ultra vires claim is a rephrased objection to the Rule’s substance, it fails for the same reasons as

Plaintiffs’ arbitrary and capricious claims: the Department has correctly interpreted “automatically”

and “single function of the trigger” and correctly applied those interpretations to bump stocks. See

supra Part I.A & I.B; Guedes I, 356 F. Supp. 3d 130-33 see generally Trudeau v. FTC, 456 F.3d 178, 190

(D.C. Cir. 2006) (noting that ultra vires review is “a more difficult course” than general APA review).

Further, the Codrea Plaintiffs’ ultra vires claim mischaracterizes the Rule’s own statement of its effect: far

from “purport[ing] to redefine statutory law,” Codrea SAC ¶ 22, the Rule makes clear that it “clarifies”

the pre-existing, statutory definition of machine gun to include bump stocks, 83 FR 66520, including

by elaborating on the plain meanings of the terms “automatically” and “single function of the

trigger.” 12 83 FR 66528.

           To the extent Plaintiffs challenge the Department’s authority to define “machinegun” and its

component terms as a claim independent of their merits challenges, the Rule sets forth the specific

authorities under which the Department acted. See 83 FR 66515 (citing 18 U.S.C. § 926(a); 26 U.S.C.

§§ 7801(a)(2)(A), 7805(a); and 28 CFR 0.130(a)(1)-(2)). The Department has exercised these

authorities here in explaining that bump stocks are machineguns and notifying the public of that

12
  Plaintiffs’ reliance on a present-day statement by Senator Feinstein about the scope of Defendants’
authority to interpret the NFA, see Guedes SAC ¶ 78, is of no moment: “subsequent statements by
members of Congress do not constitute reliable evidence as to what Congress intended in the past.”
Fed./Postal/Retiree Coalit., AFGE v. Devine, 751 F.2d 1424, 1429 n.9 (D.C. Cir. 1985).
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classification. See Guedes I, 356 F. Supp. 3d 128 (recognizing that the Rule relies on the Department’s

“general rulemaking authority under 18 U.S.C. § 926(a)”). And courts have recognized that ATF is

empowered to issue rulings interpreting the statutory definition of “machinegun” and its component

terms. For example, in F.J. Vollmer Co. v. Higgins, the D.C. Circuit recognized the authority of ATF to

determine whether particular receivers had been modified to fall within the statutory definition of

machine gun, and thus, whether conversion kits paired with those receivers fell within ATF’s policy of

“good faith” and “innocent buyer” exceptions to 18 U.S.C. § 922(o). 23 F.3d 448, 451 (D.C. Cir.

1994). Similarly, in United States v. Dodson, the Sixth Circuit recognized the authority of ATF to issue a

ruling “clarifying that . . . auto-sears”—a category of firearms parts —“were considered machineguns,

subject to all the provisions” of the NFA, based on the fact that “[h]istorically, it was not clear whether

[such] auto-sears were ‘machineguns.’” 519 Fed. App’x 344, 348 (6th Cir. 2013). DOJ has exercised

the same authority here to remove “historical[]” confusion by clarifying that bump stocks are machine

guns. These examples bely Plaintiffs’ assertion that Congress defined the term “machinegun” so

clearly “in 1934 when it drafted the NFA” that DOJ is entirely precluded from exercising interpretive

authority over 26 U.S.C. § 5845(b). Codrea SAC ¶ 41. To the contrary, because the Rule falls well

within the long-recognized authority of the Department to clarify the meaning and application of the

machine gun definition, Plaintiffs’ ultra vires challenge is meritless.

        Nor is it the case that the Department’s reliance on the “plain meaning” of “automatically”

and “single function of the trigger” in the Rule undercut its authority to define those terms, as the

Guedes Plaintiffs contend. Guedes SAC at ¶¶ 79-84. The starting point in any statutory interpretation,

whether by a court or an agency, is the meaning of the statutory text, and as explained above, the plain

meaning of the text demonstrates that bump stocks are machineguns. In any event, the rulemaking

authorities in 18 U.S.C. § 926(a) and 26 U.S.C. §§ 7801(a)(2)(A), 7805(a) authorize the issuance of both

interpretive and legislative rules. DOJ has consistently maintained that the Rule is an interpretive rule,

and the “critical feature” of such rules “is that they are ‘issued by an agency to advise the public of the

agency’s construction of the statutes and rules which it administers.’” Perez v. Mortgage Bankers Ass’n,

135 S. Ct. 1199, 1204 (2015) (quoting Shalala v. Guernsey Mem’l Hosp., 514 U.S. 87, 99 (1995)); see also

                                                      25
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Catholic Health Initiatives v. Sebelius, 617 F.3d 490, 494 (D.C. Cir. 2010) (“To fall within the category of

interpretive, the rule must derive a proposition from an existing document whose meaning compels or

logically justifies the proposition”) (cleaned up). It is thus unsurprising that DOJ relied on the plain

meaning of the statutory terms given that the agency is correcting past, erroneous applications of those

terms. DOJ respectfully disagrees with the Court of Appeals’ conclusion that the Rule is a legislative

rule. See Guedes II, 920 F.3d at 18-20. 13 But to the extent this Court adopts that analysis, the Court of

Appeals has already held that DOJ had authority to issue such a rule. There is thus no viability to

Plaintiffs’ claim that the Rule “admits that it has exceeded the authority granted by Congress.” Guedes

SAC ¶ 79.

     B.       The Rule Does Not Reflect an Improper Delegation of Legislative Authority or
              Violate the Separation of Powers.
          As an alternative to their ultra vires argument, the Guedes Plaintiffs contend that Defendants

13
  DOJ has consistently maintained that the Rule is an interpretive rule like other past weapons
classifications. The Rule is clear that the only source of legal force for the prohibition on bump
stocks is Congress’s statutory ban on new machineguns, not the Rule itself. See, e.g., 83 FR 66529
(“[T]he impetus for this rule is the Department’s belief, after a detailed review, that bump-stock-type
devices satisfy the statutory definition of ‘machinegun.’ ”); id. (“ATF must . . . classify devices that
satisfy the statutory definition of ‘machinegun’ as machineguns.”); id. at 66535 (“[T]he Department
has concluded that the [National Firearms Act] and [Gun Control Act] require regulation of bump-
stock-type devices as machineguns.”). Thus, the agency concluded that bump stocks are
machineguns under the statute, not that the agency had (and was exercising) discretion to classify
them as such. The Rule also explains that notice-and-comment procedures were used because they
were “specifically designed to notify the public about changes in ATF’s interpretation of the
[National Firearms Act] and [Gun Control Act] and to help the public avoid the unlawful possession
of a machinegun.” 83 FR at 66523; see id. (stressing the need to “ensur[e] that the public is aware of
the correct classification of bump-stock-type devices”); id. at 66529 (“The proposed rule is . . .
necessary to provide public guidance on the law”). Providing the public with notice of an agency’s
understanding of the statutes that it administers is the purpose of interpretive rules. See Mortgage
Bankers, 135 S. Ct. at 1204. The Rule repeatedly explains that past classification decisions involving
bump stocks were erroneous, not superseded by a prospective change in the law. 83 FR at 66523
(explaining that ATF had “misclassified some bump-stock-type devices and therefore initiated this
rulemaking”); id. at 66531 (observing that the agency has “authority to ‘reconsider and rectify’ its
classification errors”) (citation omitted); id. at 66516 (same). And the Rule explains that the
“definitions for the terms ‘single function of the trigger’ and ‘automatically’” contained in the Rule
“represent the best interpretation of the statute,” i.e., what the statute has always meant. 83 FR
66521. These indicia that the Rule is a clarifying interpretation rather than a legislative action
underscore that the Rule is interpretive, not legislative in nature, contra Guedes II. See Central Tex. Tel.
Coop. v. FCC, 402 F.3d 205, 212-14 (D.C. Cir. 2005).
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may not rely on the authority delegated by Congress because, in their view, “Congress may not

divest itself of the authority to define the term ‘machinegun’ under the NFA and GCA” without

unconstitutionally “allow[ing] the Executive Branch . . . to define what circumstances will be made

criminal.” Guedes SAC at ¶ 142. Not so. To begin, Congress has provided a detailed definition of

the term “machinegun,” attached criminal consequences to the unlawful possession of such a

weapon, see 18 U.S.C. § 922(o); 26 U.S.C. § 5845(b), and Defendants have explained “the best

interpretation of the statute” that Congress itself enacted. 83 FR 66521. Applying the text as written

in no sense “divests” Congress of its authority, and there is thus no need to consider plaintiffs’

broad constitutional challenge.

        In any event, Congress can delegate authority to Executive Branch agencies to engage in

rulemaking without transgressing constitutional limits, even if that rulemaking may lead to criminal

consequences. For example, Congress has delegated to the Securities and Exchange Commission the

authority to “define, and prescribe means reasonably designed to prevent, such acts and practices as

are fraudulent” in connection with tender offers, notwithstanding the criminal penalties associated

with a violation. 15 U.S.C. § 78n(e); see also Loving v. United States, 517 U.S. 748, 768 (1996) (noting

that the Supreme Court has regularly “upheld delegations whereby the Executive or an independent

agency defines by regulation what conduct will be criminal”).

        The Court of Appeals previously rejected the validity of a similar argument floated by

Plaintiffs in the preliminary injunction proceedings. “At oral argument, the plaintiffs suggested that

permitting an agency’s interpretation to carry the force of law in the criminal context would infringe

the separation of powers.” Guedes II, 920 F.3d at 26. The D.C. Circuit described Plaintiffs’ argument

as “difficult to square with the Supreme Court’s decision in Touby v. United States, 500 U.S. 160

(1991)[, w]here the Court upheld a delegation of legislative authority to the Attorney General to

schedule substances under the Controlled Substances Act against a challenge under the

nondelegation doctrine.” Guedes II, 920 F.3d at 26. As explained therein, “the separation of powers

‘does not prevent Congress from seeking assistance” of the sort involved in the Rule and in

Defendants’ classification of bump stocks as machine guns pursuant to the Rule. Id. at 26-27

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(quoting Touby, 500 U.S. at 165). Plaintiffs offer nothing that would alter that conclusion here,

where Congress and the Department have acted within the constraints of constitutional limits on

delegation, see Whitman v. Am. Trucking Ass’n, 531 U.S. 457, 472 (2001), and Plaintiffs’ non-delegation

challenge therefore fails.

         Raising another structural constitutional challenge, the Guedes Plaintiffs also allege that the Rule

violates the separation of powers, but this claim is simply a restatement of their statutory claims under

the APA. See Guedes SAC at ¶¶ 126-33. Plaintiffs’ supposed “constitutional” argument is that the

Rule “intrude[s] upon the central prerogatives of” Congress because the legislature “has not prohibited

the purchase, possession or utilization of bump stock devices.” Id. at ¶¶ 130-31. As explained above

in Part I, those challenges fail because the Rule validly exercises the Department’s authority under the

NFA and GCA by setting forth the “best interpretation of the statute” actually promulgated by

Congress. 83 FR 66521. The recycling of this claim under the separation-of-powers rubric likewise

fails.

III.     The Rule Satisfies the Due Process Clause and Is Not Impermissibly Vague.
         Plaintiffs allege that the Due Process Clause of the Fifth Amendment entitled them to “a pre-

deprivation or other hearing” before being dispossessed of their bump stocks pursuant to the Rule.

Codrea SAC at ¶ 78; see Guedes SAC at ¶¶ 150-51. However, it is well-established that the Due

Process Clause does not require a hearing, individual or otherwise, for “proceedings for the purpose of

promulgating policy-type rules or standards” such as rulemakings. Fla. E. Coast Ry. Co., 410 U.S. at

245; Nat’l Coal. Against the Misuse of Pesticides v. Thomas, 809 F.2d 875, 880 n.4 (D.C. Cir. 1987) (“due

process imposes no constraints on informal rulemaking beyond those imposed by statute”); see also

Minn. State Bd. for Cmty Colls. v. Knight, 465 U.S. 271, 284 (1984) (“Policymaking organs in our system of

government have never operated under a constitutional constraint requiring them to afford every

interested member of the public an opportunity to present testimony before any policy is adopted”).

The procedures followed by Defendants went beyond what due process requires. As the complaint

acknowledges, the Department conducted a public comment process that was announced in the


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Federal Register and responded to the comments received. All of the Codrea Plaintiffs submitted

comments: Mr. Codrea and Mr. Monroe submitted brief ones (totaling ten words between them), and

Mr. Heuman submitted both a personal, short comment, and a lengthy comment containing detailed

analysis through his counsel. See Ex. 1 at 40 (AR002195); Ex. 1 at 41 (AR003054); Ex. 1 at 42

(AR002736); Ex. 1 at 50 (AR003614). One of the Guedes Plaintiffs submitted a comment, while Mr.

Guedes provided a declaration to be included as part of another’s comments, see Ex. 1 at 221

(AR003314), and none of the other Plaintiffs contend that they were unaware of the rulemaking or

deprived of the opportunity to submit comments and thereby be heard. This is all that the Due

Process Clause required. Fla. E. Coast Ry., 410 U.S. at 245.

        Further, “[p]rocess is not an end in itself.” Olim v. Wakinekona, 461 U.S. 238, 250 (1983); see

Seal v. Morgan, 229 F.3d 567, 574 (6th Cir. 2000) (“There is no abstract federal constitutional right to

process for process’s sake.”). Instead, “[c]laims of denials of due process are evaluated under the

familiar framework set out in Mathews v. Eldridge, 424 U.S. 319, 335 (1976).” FBME Bank v. Lew, 209 F.

Supp. 3d 299, 329 (D.D.C. 2016). This framework involves a “balance [of] three factors: ‘first, the

private interest . . . .; second, the risk of an erroneous deprivation of such interest . . . and the probable

value, if any, of additional or substitute procedural safeguards; and finally, the Government’s interest.’”

Id. (quoting Mathews, 424 U.S. at 335); see also Nat’l Mining Ass’n v. U.S. Dep’t of Interior, 251 F.3d 1007,

1010 (D.C. Cir. 2001). Here, Plaintiffs do not identify any way in which an individualized hearing

would provide a benefit. First, as the Rule explains, DOJ is required to treat bump stocks as machine

guns by the terms of the statutory text. See 83 FR 66529. The Rule therefore rejects the alternative of

taking no action because “the NFA and GCA require regulation of bump-stock-type devices as

machineguns.” Id. at 66535.

        Moreover, under the Rule, all bump stocks are machine guns, and Plaintiffs do not allege that

their individual bump stocks should be treated differently than other bump stocks in a manner where

the fact-finding of an individual hearing would provide a benefit. Nor do Plaintiffs identify any

evidence or arguments that require a hearing to present, and a review of the comments they submitted

does not reveal any materials that appear inadequate in writing. See Ex. 1 at 40 (AR002195); Ex. 1 at

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41 (AR003054); Ex. 1 at 42 (AR002736); Ex. 1 at 50 (AR003614); Ex. 1 at 221 (AR003314). Plaintiffs

can identify no “probable value” of a hearing or other additional procedure to weigh in the Mathews v.

Eldridge balancing, and therefore cannot prevail on a due process claim.

        Plaintiffs also reallege their APA claims as part of their alleged violations of due process, and

such claims should be rejected on the same grounds as the underlying claims. In the Codrea SAC, these

duplicative arguments are styled as procedural due process claims: “the Final Rule . . . ignores the

definition of machinegun Congress adopted in the [NFA].” Codrea SAC ¶ 80. However, such

purported “due process” claims for “improper rulemaking” are not separately cognizable, “do not

amount to a . . . constitutional violation,” and belong in Plaintiffs’ APA counts. Nat’l College Preparatory v.

D.C. Charter School Bd., 2019 WL 7344826 at *3 (D.D.C. Dec. 11, 2019) (emphasis added); see Am.

Public Gas Ass’n v. Federal Power Comm’n, 498 F.2d 718, 723 (D.C. Cir. 1974) (procedures that satisfy the

APA also satisfy due process, except to the extent that plaintiffs can identify specific benefits from

additional process); cf. Calif. ex. rel. Lockyer v. FERC, 329 F.3d 700, 706-07 (9th Cir. 2003) (publication

in the Federal Register with opportunity to comment is “legally sufficient” to satisfy due process).

Likewise, the Guedes Plaintiffs’ “substantive due process” claim is entirely derivative of their ultra vires

claim, which fails for the reasons described above. See supra Part II.A. Plaintiffs cannot succeed in their

respective, substantive challenges to the Rule by recasting those claims under the “due process” rubric.

        The Guedes Plaintiffs raise yet another variation of a due process challenge in a claim that the

“Rule is void for vagueness,” Guedes SAC at ¶ 158, arguing that the Rule falls within the prohibition

on penal statutes that are not “sufficiently explicit to inform those who are subject to it what

conduct on their part will render them liable.” Id. ¶ 155 (quoting Connally v. Gen. Constr. Co., 269 U.S.

385, 391 (1926)). Yet bump stocks do come “plainly and unmistakably” within the terms of the

Rule, which straightforwardly defines bump stocks—including those previously possessed by the

Guedes Plaintiffs—as machine guns. 14 See 83 FR 66553-54. There is thus no danger that the Rule

14
   Although the Rule addresses comments asserting that the classification of bump stocks as machine
guns is vague in other respects, see 83 FR 66533-534, it does not address the contention that the Rule
is not sufficiently explicit to inform bump stock owners that their devices are prohibited, an issue
that was raised only by a single commenter and only in connection with a separate lawsuit against a
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fails “to inform” Plaintiffs that their bump stocks are prohibited by the terms of 18 U.S.C. § 922(o).

To the extent the Guedes Plaintiffs direct their vagueness challenge to the statute itself, rather than

the Rule, such a claim would fare no better. 15 As the Eleventh Circuit explained in turning away a

similar challenge in Akins, a statute is only “unconstitutionally vague when it fails to give a ‘person

of ordinary intelligence a reasonable opportunity to know what is prohibited,’” and here, “[t]he plain

language of the statute defines a machinegun as any part or device that allows a gunman to pull the

trigger once and thereby discharge the firearm repeatedly.” Akins, 312 F. App’x at 200-01 (quoting

Grayned v. City of Rockford, 408 U.S. 104, 108 (1972)).

        Nor does the fact that ATF’s initial classifications of bump stocks were later deemed in error

render the statute invalid for vagueness. Lawful statutes may be susceptible of multiple

interpretations, and the mere fact that “there may be some ‘close cases’ or difficult decisions does

not render a policy unconstitutionally vague.” Hills v. Scottsdale Unified School Dist. No. 48, 329 F.3d

1044, 1056 (9th Cir. 2003); see also Ford Motor Co. v. Texas Dep't of Transp., 264 F.3d 493, 509 (5th Cir.

2001) (“A statute is not unconstitutionally vague merely because a company or an individual can

raise uncertainty about its application to the facts of their case”). Indeed, the individual Guedes

Plaintiffs’ own allegations confirm that they recognized the uncertainty about the application of 18

U.S.C. § 922(o) to their bump stocks: each asserts that they acquired their bump stocks only in

“reliance upon . . . ATF’s previous letter rulings” regarding bump stocks. Guedes SAC ¶ 8 (Plaintiff

Guedes); see id. at ¶ 9 (Plaintiff Roden “purchased . . . in reasonable reliance upon ATF’s previous

determinations”). To require perpetual adherence to the erroneous classification letters under the

guise of a protection against vagueness would negate the well-established authority of Executive

Branch agencies “to reconsider and rectify errors” such as these, Gun South, Inc. v. Brady, 877 F.2d


state bump stock ban, in which the court has since squarely rejected the commenter’s claim that a
ban on bump stocks is unconstitutionally vague. Compare Ex. 1 at 216 (AR003659) with Roberts v.
Bondi, 2018 WL 3997979 (M.D. Fla. Aug. 21, 2018).
15
   Plaintiffs do not articulate a facial vagueness challenge to the statute, and this Court need only
review the statute as-applied, because “[v]agueness challenges to statutes not threatening First
Amendment interests are examined in light of the facts of the case at hand.” United States v. Awan,
966 F.2d 1415, 1424 (11th Cir. 1992) (quoting Maynard v. Cartwright, 486 U.S. 356, 361 (1988)).
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858, 862 (11th Cir. 1989), notwithstanding Congress’ determination that machine guns should be

banned.

IV.        Defendants are Entitled to Judgment on Plaintiffs’ Takings Claims.

           Plaintiffs also claim that the Rule should be enjoined as a violation of the Takings Clause, or

that, in the alternative, Defendants should be required to provide compensation for their bump

stocks. See Codrea SAC at ¶¶ 26-27, 29, 86-88; id. at p.23 (relief subparagraph 9); Guedes SAC at

¶¶ 159-63 & pp. 45-46 (prayer for relief). However, the Court has jurisdiction over a takings claim

only when the validity of the government action is conceded, which precludes Plaintiffs’ effort to

plead a takings claim given that the gravamen of their Complaints is that the Rule is invalid and they

have not conceded the validity of the Rule in the context of their takings claims. Further, the

Takings Clause provides only for compensatory relief, not injunctive relief, and does not require

compensation at all where, as here, the federal government is exercising one of its enumerated

powers in a manner analogous to a state’s exercise of plenary police powers.

      A.       The Court Lacks Jurisdiction over Plaintiffs’ Takings Claims.

           Federal courts lack jurisdiction under the statutes providing damages for compensatory

takings unless a plaintiff acknowledges that he is challenging a lawful action by the government,

which is not the case here. The Little Tucker Act, 28 U.S.C. § 1346(a), provides district courts with

jurisdiction over takings claims against the United States that parallels the “concurrent [jurisdiction]

with the United States Court of Federal Claims,” id., provided in the Tucker Act, 28 U.S.C. § 1491.

The grant of jurisdiction is on nearly-identical terms to the Tucker Act for monetary “claim[s]

against the United States . . . founded either upon the Constitution, or any Act of Congress, or any

regulation of an executive department,” except that Little Tucker Act claims are limited to $10,000.

Compare 28 U.S.C. § 1346(a)(2) with id. § 1491; accord Fulbright v. McHugh, 67 F. Supp. 3d 81, 92 n.4

(D.D.C. 2014) (concluding jurisdictional limits imposed by statute of limitations applied to the same

extent in district court and claims court); Brewer v. HUD, 508 F. Supp. 72, 76 (S.D. Ohio 1980)

(recognizing “identical” jurisdictional scope of two provisions). And it is well-established under the

Tucker Act that “for the Court to possess jurisdiction over a takings claim, the ‘claimant must

                                                     32
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concede the validity of the government action which is the basis of the taking claim.’” Jackson v.

U.S., 143 Fed. Cl. 242, 247 (Fed. Cl. 2019) (quoting Tabb Lakes v. U.S., 10 F.3d 796, 802-03 (Fed.

Cir. 1993)), appeal docketed No. 19-2213 (Fed. Cir. July 3, 2019). This limitation flows logically from

the principle that a “takings claim may only be based on the Government’s rightful exercise of its

property, contract, or regulatory powers,” Perry v. U.S., 28 Fed. Cl. 82, 85 (Fed. Cl. 1993).

    B.       Plaintiffs Are Not Entitled to Relief on Their Takings Claims.

         Even if there were jurisdiction over Plaintiffs’ taking claims, Plaintiffs would not be entitled

to relief. The prohibition on bump stock possession is an exercise of the police power that does not

give rise to a “taking” that requires compensation. Although the plain language of the Clause

“requires the payment of compensation whenever the government acquires private property for a

public purpose,” Tahoe–Sierra Preservation Council v. Tahoe Regional Planning Agency, 535 U.S. 302, 321

(2002), “[p]roperty seized and retained pursuant to the police power is not taken for a ‘public use’ in

the context of the Takings Clause.” Tate v. Dist. of Columbia, 601 F. Supp. 2d 132, 136 (D.D.C. 2009)

(quoting AmeriSource Corp. v. United States, 525 F.3d 1149, 1153 (Fed. Cir. 2008)); see United States v.

Droganes, 728 F.3d 580, 591 (6th Cir. 2013) (“[T]he [g]overnment’s seizure and retention of property

under its police power does not constitute a ‘public use,’” and therefore “the Fifth Amendment is

not implicated.”) These cases recognize long-established precedent holding that the scope of the

Takings Clause excludes “[a] prohibition simply upon the use of property for purposes that are

declared . . . to be injurious to the health, morals, or safety of the community[. Such] cannot, in any

just sense, be deemed a taking.” Mugler v. Kansas, 123 U.S. 623, 668 (1887); see Lucas v. S.C. Coastal

Council, 505 U.S. 1003, 1027 (1992) (A “property owner necessarily expects the uses of his property

to be restricted, from time to time, by various measures newly enacted by the State in legitimate

exercise of its police powers.”). This is particularly true as to “personal property, by reason of the

State’s traditionally high degree of control over commercial dealings,” including where a “new

regulation might even render . . . property economically worthless.” Lucas, 505 U.S. at 1027-28.

         Here, the promulgation of the Rule to clarify that bump stocks are contraband machine guns

is precisely such an exercise of the police power, “the lawful exercise of [which]” includes

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prohibitions on “private property . . . as contraband goods, a power, the exercise of which is

essential to the preservation of order and the enforcement of the laws.” German Alliance Ins. Co. v.

Barnes, 189 F. 769, 775 (C.C.D. Kan. 1911); see Acadia Tech., Inc. v. United States, 458 F.3d 1327, 1332

(Fed. Cir. 2006) (“[T]he . . . exercise of the police power to condemn contraband or noxious goods

. . . has not been regarded as a taking for public use.”); Barnes v. U.S., 122 Fed. Cl. 581, 583 (Fed. Cl.

2015) (DEA seizure in connection with illegal possession of marijuana is “pursuant to the police

power” and not within the scope of the Takings Clause). 16 Applying the same principle, the Court

of Federal Claims held in Akins that ATF may revise its interpretation of Section 922(o) to

encompass bump stocks without giving rise to a compensable taking. See Akins, 82 Fed. Cl. at 622-

23 (analogizing ATF’s 2006 reversal of a classification decision to the “condemn[ation of]

contraband” in Acadia and explaining that “[p]roperty seized and retained pursuant to the police

power is not taken for a ‘public use’ in the context of the Takings Clause”).

        Indeed, in two cases seeking takings compensation for bump stocks abandoned or destroyed

pursuant to the Rule, the Court of Federal Claims has, following Akins, held that the police power

exception required dismissal of such claims. In McCutchen, the court explained that requiring

“owners to divest themselves of such tools of war is the paradigmatic example of the exercise of the

government’s police power, which defeats any entitlement to compensation under the Takings

Clause.” 145 Fed. Cl. at 52. Similarly, in Modern Sportsman, the court reasoned that “the Takings

Clause is not implicated” because the Government “acted within the narrow confines of the police

16
  In response to commenters objecting to the Government’s invocation of the police power
exception to compensable takings, see, e.g., Ex. 1 at 219 (AR003829), the Rule explained that it “does
not posit the existence of a ‘plenary police power’ at the Federal level.” 83 FR 66524 n.7; compare
Lane v. United States, No. 3:19-cv-1492-X, 2020 WL 1513470 at *5 (N.D. Tex. Mar. 30, 2020)
(observing that “the police power is a power reserved for the states” and concluding that the Rule
must rely on one of the federal government’s enumerated powers). Rather, when “the federal
government . . . engage[s], pursuant to one or more of its enumerated powers, in activities not
unlike those engaged in by the states under their inherent sovereign powers to protect the public
welfare,” such activities are the exercise of a narrower “police power” that is a necessary and proper
component of the enumerated power. 83 FR 66524 n.7 (cleaned up) (quoting Fla. Rock Indus., Inc. v.
United States, 18 F.3d 1560, 1568 n.17 (Fed. Cir. 1994)); see also Brooks v. United States, 267 U.S. 432,
436 (1925) (When Congress “regulate[s] interstate commerce” by “punishing the use of such
commerce . . . [to] harm [] the people of other states . . . it is merely exercising the police power”).
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power when it required the surrender or destruction of all bump stocks.” 145 Fed. Cl. at 582-83.

This Court should reach the same result here, because the classification and seizure of contraband is

one of “the most basic exercises of the police power,” and the Takings Clause does not “compel the

government to regulate by purchase” when it prohibits items as contraband. Holliday Amusement Co.

of Charleston v. South Carolina, 493 F.3d 404, 410 (4th Cir. 2007) (quoting Andrus v. Allard, 444 U.S. 51,

65 (1979)).

          Nor is injunctive or declaratory relief available for Plaintiffs’ takings claims. The Fifth

Amendment does not “prohibit the taking of private property, but instead places a condition on the

exercise of that power. This basic understanding of the Amendment makes clear that it is designed

not to limit the government[] . . . but rather to secure compensation.” First English Evangelical Lutheran

Church of Glendale v. County of L.A., 482 U.S. 304, 314 (1987) (emphasis in original) (citations omitted).

Such compensation may be unavailable, but nevertheless, the Fifth Amendment does not “prohibit

[a] taking,” and accordingly, Plaintiffs may not enjoin or invalidate the Rule based on an unlawful

takings theory. See Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1016 (1984); Bldg. Owners & Managers

Ass’n v. FCC, 254 F.3d 89, 101 (D.C. Cir. 2001) (Randolph, J., concurring).

V.        Defendants Are Entitled to Judgment on Plaintiffs’ Other Claims.

     A.       The Rule Is Not Retroactive.

          Contrary to Plaintiffs’ assertions, the Rule is not impermissibly retroactive and therefore is not

barred by either Article I, Section 9, Clause 3 of the Constitution, which provides that “No . . . ex post

facto Law shall be passed,” or by 26 U.S.C. § 7805, which bars the application of a tax regulation “to

any taxable period ending before” the proposal of such regulation. 26 U.S.C. § 7805(b); see Codrea

SAC ¶ 34; Guedes SAC ¶¶ 164-70. In Guedes II, the Court of Appeals held that the Codrea Plaintiffs

could not establish a likelihood of success to support a preliminary injunction on these claims, but did

so on the basis that they had been “forfeited” in district court in the preliminary injunction context.

920 F.3d at 35. Nevertheless, in dicta, the Court of Appeals explained that, under its analysis of

Plaintiffs’ APA claims, even a proper claim under Section 7805(b) or the Ex Post Facto Clause would

necessarily fail because “the Rule is legislative in character and therefore purely prospective.” Id. As

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the Court of Appeals noted, if “the possession of bump stocks would become unlawful only after the

effective date,” there is nothing retroactive about the Rule. 17 Id.

        To be sure, as the Court of Appeals acknowledged, the Government did not—and does not—

agree with that Court’s determination that the Rule is legislative, rather than interpretive, in nature.

However, the nature of the Rule is irrelevant to Plaintiffs’ retroactivity claims because, even under the

Government’s analysis of the Rule as interpretive, the Rule is not impermissibly retroactive. As an

interpretive rule, the Rule merely explains that possession of a bump stock violates 18 U.S.C. § 922(o),

the criminal prohibition on machine gun ownership, a statute enacted in 1986. Because the statute

banned machineguns and “ATF must . . . classify devices that satisfy the statutory definition of

‘machinegun’ as machineguns,” 83 FR 66529, the Rule explains that “the restrictions imposed by the

NFA and GCA” apply to bump stocks, as they have since 1986. 83 FR 66420. Thus, the

interpretation set forth in the Rule does not represent a change in the law, but is instead “an

authoritative statement of what the statute meant before as well as after the decision” to issue the Rule.

Rivers v. Roadway Express, 511 U.S. 298, 312-13 (1994). Because the bar on retroactive rulemaking

applies only when doing so “makes an action, done before [the Rule], and which was innocent when

done, criminal,” Codrea SAC ¶ 38 (quoting Calder v. Bull, 3 U.S. 386, 390 (1798)), if the Rule is

interpretive in nature, no retroactive action has occurred. As the Court of Appeals explained, if the

Rule is legislative, retroactive action has similarly not occurred.

        Further, in response to commenters raising concerns about the ex post facto implications of

banning bump stocks, see, e.g., Ex. 1 at 120-25 (AR002324); Ex. 1 at 130 (AR002694), the Rule included

protections for those who may have unknowingly purchased prohibited machine guns in light of the

agency’s previous misclassifications. Specifically, the Rule explained that, in order to inform the public
17
  The Codrea Plaintiffs plead their retroactivity claims in the same count and without distinguishing
between them, see Codrea SAC at ¶¶ 79-80, confirming the view of the Court of Appeals that the
Codrea Plaintiffs’ claims under Section 7805(b) and the Ex Post Facto Clause can be analyzed
together. See Guedes II, 920 F.3d at 35 (treating these claims as subject to the same analysis). This
Court should do the same. See generally Baldwin v. United States, 921 F.3d 836, 844 (9th Cir. 2019)
(explaining limits of authority to issue retroactive regulations under Section 7805(b); Kandi v. United
States, 97 A.F.T.R.2d 2006-721, 2006 WL 83463 (W.D. Wash. 2006) (comparing presumption against
retroactivity under current version of Section 7805(b) with prior version of statute).
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of the revised classifications, possessors of bump stocks would have ninety days to destroy or

relinquish their devices and avoid prosecution. See 83 FR 66530, 66549. This ensured that no

consequences would arise for “past possession of bump-stock-type devices that cease[d] by the

effective date of [the] rule.” 83 FR 66525. Those statements reflected the government’s decisions (1)

not to prosecute individuals who possessed bump stocks during the period in which the Department

had erroneously classified them, and (2) to provide a reasonable grace period for individuals who

already possessed bump stocks to come into compliance with the law. This satisfied the “purpose of

the Ex Post Facto Clause”: to ensure that the public has “fair warning of [the] effect” of laws and to

“permit individuals to rely on their meaning until explicitly changed.” Gambrell v. Fulwood, 950 F. Supp.

2d 109, 123 (D.D.C. 2013) (quoting Weaver v. Graham, 450 U.S. 24, 28-29 (1981)). The Guedes Plaintiffs

concede this point, acknowledging that the Rule subjects individuals to “punitive sanctions [only] for

failing to comply” with the Rule’s instruction to abandon or destroy existing bump stocks. Guedes

SAC at ¶ 170. 18 Individuals who comply with the Rule thus do not face criminal liability for their past

possession of a bump stock.

     B.       The Rule Properly Concluded That the Department Lacks Authority to Grant an
              Amnesty.
          Plaintiffs also contend that, if the Rule is valid, equitable considerations require “that the

Attorney General allow for an amnesty so as to register these devices as machineguns under the

National Firearms Act,” Codrea SAC ¶ 43, and that continued possession of bump stocks following

such an amnesty would be lawful “under the authority” of the Attorney General within the meaning of

18 U.S.C. § 922(o)(2)(A). See 18 U.S.C. § 922(o)(2)(A) (creating an exception from the general

prohibition on machine guns for weapons “possess[ed] by or under the authority of, the United States

18
  Relying on McDonnell v. United States, 136 S. Ct. 2355 (2016), the Codrea Plaintiffs assert that the
“agency[’s] promise to forego enforcement in the exercise of prosecutorial discretion” cannot cure a
retroactivity violation. Codrea SAC ¶ 39. But the exercise of discretion on which the Court in
McDonnell declined to rely was a substantive interpretation of a vague statutory term that could “be
interpreted to be either a meat axe or a scalpel,” id. at 2373 (quoting United States v. Sun–Diamond
Growers of Cal., 526 U.S. 398, 412 (1999). Such concerns have no application here, where the exercise
of prosecutorial discretion concerns a specified time period in which enforcement would not be
undertaken.
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or any department or agency thereof”). As the Rule concluded, however, federal law does not

authorize an “amnesty period” in which bump stock owners could register their bump stocks as

machine guns such that they could continue to possess them. See AR004120-AR004122; 83 FR 66536.

And even if the Attorney General could choose to issue an amnesty, that choice would be within the

discretion of the Attorney General. 19

        Relying again on Mr. Savage’s report, the Codrea Plaintiffs assert that the “Attorney General

could simply declare a general amnesty under the NFA any time he wishes to,” during which time “the

government would open the NFRTR [National Firearms Registration and Transfer Record] to new

transferable machineguns.” Codrea SAC ¶ 52. As the Rule properly concluded, however, Congress

eliminated amnesty authority with regard to machine guns in 1986 by enacting 18 U.S.C. § 922(o), see

83 FR 66536. As a later in time enactment, the outright prohibition on machine guns in Section

922(o) impliedly repeals the Attorney General’s amnesty authority, and also controls over the general

amnesty provision in the NFA as the more specific statute. See Norwest Bank Minn. Nat’l Ass’n v. FDIC,

312 F.3d 447, 451 (D.C. Cir. 2002).

        Section 207(d) of the 1968 Amendments to the NFA, enacted alongside the GCA, generally

grants the Attorney General and ATF authority to provide an amnesty for certain firearms that are not

otherwise prohibited by law. That provision reads:

        The Secretary of the Treasury, after publication in the Federal Register of his intention
        to do so, is authorized to establish such periods of amnesty, not to exceed ninety days
        in the case of any single period, and immunity from liability during any such period, as
        the Secretary determines will contribute to the purposes of this title.
Pub. L. 90-619, 82 Stat. 1236. As the Rule explains, however, whereas “in 1968 Congress left open the

possibility of future amnesty registration” of machine guns and other weapons subject to the NFA, no

“amnesty period is possible” for the bump stocks covered by the Rule because the 1986 enactment

of the FOPA impliedly repealed the Secretary’s amnesty authority with respect to machine guns.



19
  The Guedes Plaintiffs challenge the Rule’s conclusion that an amnesty is unavailable as arbitrary and
capricious, rather than as a standalone claim. Regardless of how the claim is styled, this argument
fails for the same reasons.
                                                   38
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AR004120-21; 83 FR 66536. 20

        FOPA added to the GCA an absolute ban on the possession of machine guns, codified at 18

U.S.C. § 922(o) and subject only to the two limited exceptions spelled out in its text. See 100 Stat.

449, 453. When read alongside the NFA’s amnesty language, “the earlier and later statutes are

irreconcilable,” and such a conflict is the “permissible justification for a repeal by implication.” U.S.

v. Williams, 216 F.3d 1099, 1102 (D.C. Cir. 2000); see also English v. Trump, 279 F. Supp. 3d 307, 324

(D.D.C. 2018) (implied repeal occurs where “the later-enacted statute ‘expressly contradict[s] the

original act’” as well as when inferring repeal “is absolutely necessary” to ensure “the words of the

later statute . . . have any meaning at all”) (quoting Traynor v. Turnage, 485 U.S. 535, 548 (1988)

(alterations omitted)). The conflict here is truly irreconcilable: As commenters to the Rule pointed

out, Section 207(d) facially authorizes an amnesty as to the registration provisions of the NFA,

thereby permitting the belated registration of bump stocks as machine guns. See Ex. 1 at 203

(AR003859); Ex. 1 at 211 (AR003943). However, the exercise of such authority would create a

category of lawful machine guns beyond those in the two exceptions enumerated within 18 U.S.C. §

922(o) and thereby contradicting that provision’s facial ban on all machine guns not covered by

those exceptions and stripping “any meaning at all” from the machine gun ban. English, 279 F.

Supp. 3d at 324. Because “the later statute expressly contradicts the original act,” it is correct to

“infer a statutory repeal.” Nat’l Ass’n of Home Builders v. Def. of Wildlife, 551 U.S. 644, 662-63 (2007). 21


20
   The Codrea Plaintiffs suggest that their comments to the Rule contain “proof” that “at least one
machinegun was allowed to be registered” after the May 19, 1986 repeal of Defendants’ amnesty
authority and that “discovery on this topic” is warranted to learn whether there are other, similar
registrations. Codrea SAC ¶ 43 & n.6. But the approved application to which Plaintiffs refer, see Ex.
1 at 60, shows that it was submitted to ATF on April 21, 1986—before enactment of the FOPA.
21
   ATF Ruling 82-8, cited by the Codrea Plaintiffs as a supposed example demonstrating that
“grandfathering of machineguns can occur,” Codrea SAC ¶ 48, is inapposite. The grandfathering of
machine guns under that ATF Ruling applies to machine guns “manufactured or assembled before
June 21, 1982.” ATF Ruling 82-8, available at: https://www.atf.gov/firearms/docs/ruling/1982-8-
sm10-sm11a-pistols-and-sac-carbines-nfa-weapons/download (last visited May 19, 2020). This
ruling was issued before the implied repeal of authority by the FOPA in 1986 and applies to
machine guns that, if lawfully registered, were exempted by Section 922(o)(2)(A), so no similar
authority exists here. ATF Rulings 94-1 and 94-2, the “Streetsweeper” and “USAS-12” amnesties
cited by the Guedes Plaintiffs, are even further afield: these amnesties applied to “destructive
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      The implied repeal of the 1968 amnesty authority is also supported by the “clear and manifest”

intention of Congress in 1986, as reflected in both the statutory text and the history of its adoption.

The purpose of the FOPA was to “effectively ban[] private ownership of machine guns.” Guedes II,

920 F.3d at 36 (Henderson, J., concurring in part and dissenting in part); see U.S. v. Hunter, 843 F.

Supp. 235, 247-48 (E.D. Mich. 1994) (“[T]he language of the statute . . . demonstrate[s] that

Congress wanted to regulate possession and transfer of machineguns as a means of stemming

interstate gun trafficking . . . The means Congress chose to accomplish its goal was to ban the

transfer and possession of such weapons outright”). As explained in the Rule, during legislative

debates on the FOPA, “[w]hen asked whether an amnesty period could ‘be administratively declared

by the Secretary of the Treasury by the enactment of this bill,’ Senator Kennedy responded that

‘[t]here is nothing in the bill that gives such an authority.’” 83 FR 66536 (quoting 132 Cong. Rec.

S5358); but see 132 Cong. Rec. S5361 (1986) (colloquy of other senators, asking “[c]an an amnesty

period be declared administratively . . . ?” and yielding the response “[a]bsolutely”). 22

      Traditional canons of statutory construction bolster Defendants’ conclusion that there is no

authority to provide an amnesty for machine guns. “The Supreme Court has instructed that if ‘there

is no clear intention otherwise, a specific statute will not be controlled or nullified by a general one,

regardless of the priority of enactment.’” United Ass’n of Journeymen & Apprentices of Plumbing & Pipe

Fitting Indus., AFL-CIO v. Reno, 73 F.3d 1134, 1140 (D.C. Cir. 1996) (quoting Crawford Fitting Co. v.

J.T. Gibbons, Inc., 482 U.S. 437, 445 (1987)). Indeed, the “general/specific canon is perhaps most

frequently applied” to situations like this when “a general permission or prohibition is contradicted

by a specific prohibition or permission,” and to “eliminate the contradiction, the specific provision

is construed as an exception to the general one.” RadLAX Gateway Hotel, LLC v. Amalgamated Bank,

devices,” which are not subject to the implied repeal of amnesty authority by the FOPA’s ban on
machine guns. Compare Guedes SAC at ¶ 112 with 83 FR 66535-36.
22
   The Rule’s conclusion that no amnesty is possible is also consistent with longstanding Executive
Branch practice. ATF has held the view that the FOPA impliedly repealed the amnesty provision as
to machine guns since at least 1997, see AR001394, and “[s]ince the initial registration period in 1968,
neither the Secretary nor the Attorney General (after assuming the Secretary’s functions in 2002)
have declared an amnesty to allow further registrations.” Stephen P. Halbrook, Firearms Law
Deskbook § 7:10 (2019); see also 83 FR 66536.
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566 U.S. 639, 645 (2012) (citing Morton v. Mancari, 417 U.S. 535, 550-51 (1974)). Here, section 207(d)

applies to the entirety of the NFA, while section 922(o) addresses machineguns with specificity,

providing that no new machine guns may be lawfully possessed in, or transferred to, private hands.

This further demonstrates that Defendants lack authority to grant an amnesty.

      The Codrea Plaintiffs also appear to suggest that the Department could “choose to simply

‘authorize’ the new registrations,” and that such an action would permit the possession of bump

stocks “under the authority” of the United States and/or the Department of Justice, within the

meaning of Section 922(o)(2)(A). As the Rule explained, however, Section 922(o)(2)(A) is “an

exception for governmental entities,” not for any member of the public, and it exists only to serve

“the necessity for the military and law enforcement to continue to use and possess [machine guns].”

83 FR 66520; see id. at 66526 (“section 922(o)(2)(A) does not empower ATF to freely grant

exemptions from section 922’s general prohibition of machine guns”); United States v. Fisher, 145 F.

App’x 379, 383 n.2, 2005 WL 2033329 (6th Cir. 2005) (recognizing that purpose of Section

922(o)(2)(A) relates to “the National Guard or . . . militia service”); United States v. Vector Arms Inc.,

2017 WL 2838210 at *2 (W.D. Va. June 30, 2017) (authorization letter from Department of Justice

does not provide continuing “authority” within the meaning of Section 922(o)(2)(A)). Contrary to

Plaintiffs’ argument, Congress has never provided the Government with “the authority” to broadly

exempt owners of an entire category of machine guns, such as bump stocks, from the prohibition in

Section 922(o).

      Nor can Plaintiffs circumvent the statutory restrictions on the Government’s authority to

permit continued possession of bump stocks by appealing to this Court’s equitable authority.

“Courts of equity can no more disregard statutory and constitutional requirements and provisions

than can courts of law.” Armstrong v. Exceptional Child Center, Inc., 575 U.S. 320, 327-28 (2015); see

Porter v. Warner Holding Co., 328 U.S. 395, 398 (1946) (judicial authority to grant equitable remedies is

limited by “a clear and valid legislative command” or “by a necessary and inescapable inference”).

In addition to the explicit command by Congress that private possession of machine guns be limited

by Section 922(o), the comprehensive regulatory system for NFA firearms cannot be reconciled with

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the exercise of equitable authority to mandate registration of bump stocks in the NFRTR. This is

because the NFA includes other provisions with which compliance is now impossible, such as the

requirement that NFA firearms be registered and authorized prior to their manufacture, see 26 U.S.C.

§ 5841; the requirement that every maker of an NFA firearm identify that firearm with a serial

number, see 26 U.S.C. § 5842; and the numerous regulations set forth in 27 C.F.R. Part 479,

including those specifically applicable to machine guns. See, e.g., 27 C.F.R. § 479.105. The Rule

correctly determined that registration and continued lawful possession of bump stocks cannot be

reconciled with the terms of the NFA, and so the Department is entitled to judgment on this claim.

Finally, even if the Attorney General retained authority to issue an amnesty for machine guns,

plaintiffs articulate no basis by which such an amnesty would “contribute to the purposes of this

title,” Pub. L. 90-619, 82 Stat. 1236, a manner by which such a discretionary judgment would be

reviewable by this Court, or a principle under which the Court could require the Attorney General to

exercise his discretion in that fashion.
                                           CONCLUSION
        For the foregoing reasons, Defendants’ motion for summary judgment should be granted.



DATED this 28th day of May, 2020.

                                               Respectfully submitted,

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